     Case 4:95-cr-00142 Document 5631 Filed on 05/17/06 in TXSD Page 1 of 59




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

UNITED STATES OF AMERICA,                       §
                                                §
       Plaintiff-Respondent,                    §
                                                §
V.                                              §    CRIMINAL ACTION NO. H-95-142-55
                                                §    CIVIL ACTION NO. H-04-1322
RENE B. GONZALEZ                                §
                                                §
                                                §
       Defendant-Movant.                        §



                       MEMORANDUM AND RECOMMENDATION


       Before the Magistrate Judge in this federal habeas corpus proceeding pursuant to 28 U.S.C.

§ 2255 is Movant Rene B. Gonzalez’§ 2255 Motion to Vacate, Set Aside or Correct Sentence

(Document No. 5299),1 Movant’s Memorandum in Support of § 2255 Motion to Vacate, Set Aside

or Correct Sentence (Document No. 5363), Movant’s Notice of Judicial Cognizance (Document No.

5405), the Government’s Amended Answer and Amended Motion for Summary Judgment

(Document No. 5429, 5430), and Movant’s Response to the Government’s Motion for Summary

Judgment (Document No. 5413). After reviewing the parties’ submissions, the record of the

proceedings before the District Court in the underlying criminal case, and the applicable case law,

the Magistrate Judge RECOMMENDS, for the reasons set forth below, that the Government’s

Amended Motion for Summary Judgment (Document No. 5430) be GRANTED, that Movant’s §

       1
        Rene B. Gonzalez’ Motion to Vacate, Set Aside or Correct Sentence can be found at
Document No. 1 in Civil Action H-04-1322, and at Document No. 5299 in Criminal Action H-95-
142. References hereafter will be to the criminal document numbers unless otherwise indicated.
     Case 4:95-cr-00142 Document 5631 Filed on 05/17/06 in TXSD Page 2 of 59




2255 Motion to Vacate, Set Aside or Correct Sentence (Document No. 5299) and Notice of Judicial

Cognizance (Document No. 5405) both be DENIED, and that this § 2255 proceeding be

DISMISSED.



I.      Procedural History

        Movant Rene B. Gonzalez (“Gonzalez”), who is currently in the custody of the United States

Bureau of Prisons, is seeking federal habeas corpus relief under 28 U.S.C.§ 2255. This is Gonzalez’

first attempt at § 2255 relief.

        On October 10, 1996, Gonzalez and seventy-eight co-defendants were charged in a 197 count

sixth superseding Indictment, which arose out of a drug-trafficking organization headquartered in

Starr County, Texas. (Document No. 19). The superceding indictment charged various defendants

with narcotics distribution, money laundering, conspiracy to evade currency reporting requirements,

failure to file tax forms, aiding and abetting the use of a communication facility, aiding and abetting

travel in foreign and interstate commerce, conspiracy to travel in aid of a racketeering enterprise,

conspiracy to obstruct justice, obstruction of justice, and continuing criminal enterprise. Gonzalez

was implicated in 9 of those counts.2 Gonzalez pleaded guilty, pursuant to a written Plea

Agreement, to conspiracy to possess with intent to distribute 1,000 kilograms of more of marijuana,

in violation of §§ 841(a)(1), (b)(1)(A)(vii) and 846 (count one), and conspiracy to launder monetary

instruments in violation of 18 U.S.C. § 1956(g) and (h) (count five). (Document No. 2766). Under

the written Plea Agreement (Document No. 2766), Gonzalez waived his right against self-



        2
            Gonzalez was charged in counts 1, 20, 135, 136-137, 139, 161, 162, and 163. (Document
No. 19).

                                                  2
    Case 4:95-cr-00142 Document 5631 Filed on 05/17/06 in TXSD Page 3 of 59




incrimination, agreed not to seek bankruptcy protection, voluntarily forfeited his interest in the assets

identified in the Plea Agreement, and waived his right to a direct appeal. (Document No. 2766,

Transcript of Rearraignment Hearing, Document No. 4974, pp. 9-10). The Government, in exchange

for Gonzalez’ plea, agreed not to oppose a two level decrease for acceptance of responsibility, and

to dismiss the remaining counts, after sentencing.            (Document No. 2766, Transcript of

Rearraignment Hearing, Document No. 4974, pp. 10-11). In addition, the Plea Agreement set forth

the manner in which his sentence would be calculated, and the penalties for the offenses, to which

Gonzalez agreed to plead guilty, as follows:

        The Defendant Agrees:

        4. The defendant understands that the sentence to be imposed is within the discretion
        of the sentencing judge. If the Court should impose any sentence from the minimum
        mandatory up to and including the maximum established by statute, the defendant
        agrees that he will not, for that reason alone, seek to withdraw his guilty plea or
        pursue an appeal and will remain bound to fulfill all of the obligations under this plea
        agreement.

        5. The defendant understands that the defendant’s sentence will be imposed in
        accordance with the Sentencing Guidelines and Policy Statements. The defendant
        nonetheless acknowledges and agrees that the Court has jurisdiction and authority to
        impose any sentence within the statutory minimum or maximum set for the offense
        to which the defendant pleads guilty. The defendant is aware that Title 18, United
        States Code, Section 3742 affords a defendant the right to appeal the sentence
        imposed. Knowing that, the defendant waives the right to appeal the sentence or the
        manner in which it was determined or on any ground whatsoever. This agreement
        does not affect the rights or obligations of the United States as set forth in Title 18,
        United States Code, Section 3742(B).

        6. In agreeing to this waiver, the defendant is aware that a sentence has not yet been
        determined by the Court. The defendant is also aware that any estimate of the
        probable sentencing range under the sentencing guidelines that the defendant may
        have received from the defendant’s counsel, the United States or the Probation
        Office, is a prediction, not a promise, and is not binding on the United States, the
        Probation Office or the Court. The United States has not and does not make any
        promises or representation as to what sentence the Court will impose. The Defendant


                                                   3
Case 4:95-cr-00142 Document 5631 Filed on 05/17/06 in TXSD Page 4 of 59




  having been advised of the uncertainty in estimating the sentence to be imposed,
  knowingly waives the right to appeal that sentence in exchange for the concessions
  made by the United States in this plea agreement. Defendant agrees that paragraphs
  4 and 5are applicable to this paragraph.

  ***

  The United States Agrees:

  8. The United States reserves the right to carry out its responsibilities under
  guidelines sentencing. The United States reserves the right to provide factual
  information to the sentencing court, including but not limited to the presentence
  investigation and the right of allocution at sentencing. Specifically, the United States
  reserves the right: (a) to bring its version of the facts of this case including its file and
  any investigative files to the attention of the Probation office in connection with that
  office’s preparation of a presentence report; (b) to dispute and/or object to sentencing
  factors or facts material to sentencing; (c) to seek resolution of such factors or facts
  in conference with opposing counsel and the Probation office and (d) to file a
  pleading entitled “Positions of Parties with Respect to Sentencing Factors” and/or
  objections to the PSR, in accordance with Section 6A1.2 of the Sentencing
  Guidelines, Policy and Order of Statements. The United States is free to take any
  position it chooses at and regarding sentencing except to the extent and as
  specifically stated below: Should in the United States’ judgment, the defendant
  clearly demonstrate[s] acceptance of responsibility as contemplated by the sentencing
  guidelines, the United States will not oppose a decrease of the offense level by two
  (2) levels.

  ***

  General Provisions

  2. The defendant understands that sentencing is imposed in accordance with the
  Sentencing Guidelines and Policy Statements and that the penalty for a violation of
  Title 21, United States Code, Section 846 and 841 conspiracy to possess/distribute
  1,000 kilograms or more of marijuana is a mandatory term of imprisonment of not
  less than ten years up to and including life imprisonment and a fine of $4,000,000
  and criminal forfeiture of the assets named in the indictment and/or any asset listed
  in any notice of forfeiture filed in this case. In addition to the term of imprisonment,
  a term of supervised release of five years may be imposed. The penalty for a
  violation of Title 18 U.S.C. 1956(g) and (h) is a maximum term of imprisonment of
  twenty years and a fine of not more than $500,000 or twice the value of the property
  involved whichever is greater. In addition to the term of imprisonment, a term of
  supervised release of not more than three years may be imposed. Therefore, the


                                               4
    Case 4:95-cr-00142 Document 5631 Filed on 05/17/06 in TXSD Page 5 of 59




       maximum possible penalty is life imprisonment plus 20 years, $4,500,000 in fines,
       and 8 years of supervised release. A mandatory special assessment of $100.00 as to
       each count, for a total of $200.00 shall be imposed at sentencing....

       ***

       8. The defendant understands that nothing in this plea agreement, however, will
       restrict access by the Probation Office or the Court to information and records in the
       possession of the United States, including those obtained from the defendant.
       (Document No. 2766).

       At Gonzalez’ May 29, 1998, Rearraignment hearing, 3 the Court engaged in an extended

colloquy to ensure that Gonzalez had reviewed the written Plea Agreement, had discussed it with

his attorney, and that he understood the charges against him, the maximum penalties, the rights he

was waiving, including the right to appeal, the factual basis of the plea, and the manner in which his

sentence would be calculated. (Document No. 2765, Transcript of Rearraignment Hearing,

Document No. 4974). With respect to Gonzalez’ understanding of the plea agreement, including the

waiver of his right of appeal, the maximum penalties, and the calculation of his sentence, the

following exchanges took place between Gonzalez and the Court regarding Gonzalez’ understanding

of the plea agreement and the manner in which his sentence would be calculated:

       Ms. Lombardino: As to Mr. Gonzalez, pursuant to Rule 11(e)(1)(B), the defendant
       agrees to plead to Count 1, which charges a violation of Title 21, United States Code,
       Section 846, and conspiracy to distribute and possess with the intent to distribute a
       thousand kilograms or more of marijuana, and Count 5, which is conspiracy to
       launder monetary instruments.

       The defendant agrees to waive his right against self-incrimination for the purposes
       of this agreement, will not seek bankruptcy protection as stated in the agreement, and
       the defendant agrees to waive his right to appeal pursuant to 18 United States Code,
       Section 3742.



       3
         Gonzalez and his wife, Yvette Riojas Gonzalez, were rearraigned at the same hearing. All
references herein are to Mr. Rene Gonzalez.

                                                  5
Case 4:95-cr-00142 Document 5631 Filed on 05/17/06 in TXSD Page 6 of 59




  The defendant also agrees to [voluntarily] forfeit and does forfeit his interest in the
  assets listed in Exhibit A of the plea agreement, and at the request of the United
  States, the defendant agrees to voluntarily take whatever steps and perform whatever
  acts are necessary to transfer ownership, title, custody of the Exhibit A assets as set
  forth in more detail in Paragraph 7 of the defendant’s plea agreement.

  The defendant acknowledges under – that the assets are forfeitable under Title 21,
  Section 853(a)(1), (a)(2), 881 and/or Title 18, United States Code, 982 and 981.

  The United States reserves the right to provide information regarding the presentence
  report and its right to allocute at sentencing as set forth in the written plea agreement.

  ***

  Yes. Should in the United States’ judgment the defendant clearly demonstrate[s]
  acceptance of responsibility, the United States will not oppose an offense level
  decrease of two.

  The defendant understands and agrees that the Court is not required to accept these
  recommendations or agreements as stated in the written plea agreement and should
  the Court reject this agreement recommendation, the defendant understands and
  agrees he will not be permitted to withdraw his guilty plea nor contest on appeal the
  sentence imposed on these or any other grounds.

  The defendant also agrees that the United States has the sole discretion to determine
  whether or not the defendant has complied with the written plea agreement.

  Should the defendant fail to comply as set forth in the written agreement, the
  defendant’s plea and sentence and forfeitures will stand, and the United States may
  prosecute the defendant as set forth in the written plea agreement.

  Should the defendant comply with the plea agreement, United States, after
  sentencing, will move to dismiss the remaining counts involving this defendant.

  ***

  The Court: Mr. Gonzalez, does that – [sound like an accurate summary of your
  written plea agreement in this case?]

  ***

  The Defendant: That’s okay. Yes, ma’am, it sure does.



                                              6
Case 4:95-cr-00142 Document 5631 Filed on 05/17/06 in TXSD Page 7 of 59




  The Court: Okay. Have each of you had an opportunity to read your separate plea
  agreements in this case? ... Have you had a chance to go over it and read it?

  ***

  Mr. Gonzalez?

  The Defendant: Yes, ma’am, I sure have.

  The Court: Do each of you feel like you understand the written plea agreement?

  ***

  The Defendant: Yes, Ma’am.

  The Court: Do you have any questions you would like to ask about it now, or
  anything you feel like you need to clear up that you don’t understand?

  ***

  The Defendant: No, Ma’am.

  The Court: Has anyone made any other or different promise or assurance to you of
  any kind, not contained in this written plea agreement, in an effort to persuade you
  to plead guilty in the case?

  ***

  The Defendant: No, Ma’am.

  The Court: So if I sat down and read each of your plea agreements, that would be all
  that– all the agreements you have with the government concerning your plea of
  guilty? In other words, there wouldn’t be any kind of side agreement or under the
  table agreement or any kind of agreement that you all are relying on as part of your
  plea agreement?

  ***

  The Defendant: No, Ma’am.

  The Court: Do each of you understand that your plea agreements or your agreements
  are with the government and that I am not bound by your plea agreement, so that if
  the Government, pursuant to that plea agreement, should move, for example in your


                                           7
Case 4:95-cr-00142 Document 5631 Filed on 05/17/06 in TXSD Page 8 of 59




  case, Mrs. Gonzalez, move, makes a 5K1.1 downward departure motion, or the
  Government makes a recommendation pursuant to this written plea agreement, and
  I don’t agree with it, in other words, I don’t think you deserve a 5K1.1 should they
  make that motion, or if I reject some kind of recommendation that they may make,
  that you are still going to be bound by your plea of guilty? You are still going to be
  bound by the plea of guilty, and you will not be given an opportunity at that point, at
  the time of sentencing, to withdraw your plea of guilty? Do you understand that [Mr.
  Gonzalez]?

  ***

  The Defendant: Yes, Ma’am.

  ***

  The Court: Do each of you understand that the offenses to which you are pleading
  guilty are felony offenses, and that if you are found guilty of those offenses, that is
  if your plea is accepted, you will be found guilty of those offenses and such
  adjudication may deprive you of valuable civil rights, such as the right to vote, the
  right to hold public office, the right to serve on a jury and the right to possess
  firearms?

  Do you understand that, [Mr. Gonzalez]?

  ***

  The Defendant: Yes, Ma’am.

  ***

  The Court: Okay. So I will go over the penalties for the two counts for each of you
  at the same time.

  The penalties for Count 1 are– the conspiracy to possess with intent to distribute
  marijuana of 1000 kilograms or more, imprisonment for a mandatory minimum of
  ten years up to life imprisonment, a fine of up to 4 million dollars, and at least five
  years supervised release.

  For Count 5 it is imprisonment of up to 20 years, a fine of up to $500,000, or twice
  the value of the property involved in the transaction, and a supervised release of not
  more than three years.




                                            8
Case 4:95-cr-00142 Document 5631 Filed on 05/17/06 in TXSD Page 9 of 59




  And there would be a $100 special assessment for each count of the conviction. Two
  counts would be $200.

  ***

  Do each of you understand those are the maximum possible penalties I have just
  outlined? The prison term, the fine, the special assessments and the supervised
  release with conditions. Those are the maximum possible penalties that you are
  facing as a result of your plea of guilty this morning. Do you understand that, [Mr.
  Gonzalez]?

  ***

  The Defendant: Yes, Ma’am.

  The Court: Under the Sentencing Reform Act of 1984, the United States Sentencing
  Commission has issued guidelines for judges to follow to determine what the
  sentence will be in a criminal case.

  Have each of you discussed with Mr. Ramirez how those sentencing guidelines may
  apply in your case?

  ***

  The Defendant: Yes, Ma’am.

  The Court: And do each of you understand that I will not be able to determine what
  your sentence will be until after a pre-sentence report has been written and we have
  had a sentencing hearing?

  Do you understand that, [Mr. Gonzalez]?

  ***

  The Defendant: Yes, Ma’am.

  ***

  The Court: All right. Now, under the sentencing guidelines, I want to also point out
  to you how that works and the way this sentencing hearing works and the sentencing
  process works.




                                           9
Case 4:95-cr-00142 Document 5631 Filed on 05/17/06 in TXSD Page 10 of 59




   After I order, after– if you plead guilty this morning and your plea is accepted, I will
   then order the probation office to begin the process of preparing this pre-sentence
   report to help me to determine what sentence you should get.

   The probation officer is a person who works for the Court. In other words, that
   person is working for me, not the Government and not you, but for me.

   And he or she will make an independent assessment and evaluation of each of your
   cases, and that will be a good part of the report.

   In the report, there will be certain recommendations concerning the facts of each of
   your cases and also a recommendation concerning how the guidelines would apply
   to those facts.

   And after that report is complete, you and your attorney and the Government will be
   given a copy of the report and you will be given the opportunity to make any
   objections you may have, either to the facts reported in the report or the way that the
   probation officer has applied the guidelines to the facts in that report.

   We will then have a sentencing hearing and at that sentencing hearing, I will consider
   the report. I will have already read the report and will have considered that, but I will
   – I will make rulings on any objections you may have to the report. I will make
   rulings on any motions that the Government may file at that time, any
   recommendation the government may make.

   I will also listen to what you have to say, what your lawyer has to say, and I will
   consider any issue or matter that has been raised concerning what sentence you will
   get.

   After I – we have gone through that sentencing hearing, I will then make a
   determination of what sentence that I feel is the proper sentence in your case. And
   that is the first time all of us will find out what your sentence is going to be in the
   case.

   It may be that the sentence that I determine, that I hand down, is more severe than the
   sentence that you and Mr. Ramirez may have talked about when you were discussing
   how the guidelines applied in your case.

   And if my sentence is more severe than the sentence that you are expecting to get as
   you are standing here today, you will not be given an opportunity at that point to
   withdraw your plea of guilty.

   ***


                                              10
Case 4:95-cr-00142 Document 5631 Filed on 05/17/06 in TXSD Page 11 of 59




   Do you understand that, Mr. Gonzalez?

   The Defendant: Yes, Ma’am.

   ***

   The Court: But do you also understand that by entering into this written plea
   agreement, in other words by signing this written plea agreement this morning, you
   will have waived or given up any right that you have to appeal any sentence that I
   impose?

   ***

   The Defendant: Yes, Ma’am.

   ***

   The Court: Do each of you understand that you have a right to plead not guilty to any
   offense charged against you and to persist in that plea, and that if you persisted in
   your plea of not guilty, you would have the right to a trial by jury or by judge?

   At that trial, you would have the right to the assistance of counsel in your defense.
   You would have the right to see and hear all the witnesses and have them cross-
   examined in your defense.

   You would have the right on your own part to decline to testify unless you voluntarily
   elected to do so in you[r] own defense, and you would have the right to the issuance
   of subpoenas or compulsory process to compel the attendance of witnesses in your
   defense.

   ***

   Do you understand that, Mr. Gonzalez?

   The Defendant: Yes, Ma’am.

   The Court: Do you also understand that at trial, the jury would be told that they must
   presume your innocence. But you would be presumed by the trier of fact, either the
   judge or jury, to be innocent until such time as the Government had brought
   sufficient evidence to convince the trier of fact of your guilt beyond a reasonable
   doubt? And the jury would be told that you had the right not to testify unless you
   decided to do so, and that you had– that they could not expect you to put on any
   evidence or to testify.


                                            11
Case 4:95-cr-00142 Document 5631 Filed on 05/17/06 in TXSD Page 12 of 59




   They could also not expect you to prove your innocence because that would not be
   your job to prove your own innocence, but rather it would be the government’s job
   to prove the evidence in the case.

   They would also be told that they could not hold it against you as some indication of
   your guilt if you chose not to testify or to put on any evidence in your defense.

   Do you understand that those are the things the jury would be told at the time of trial
   if we had a trial in this case?

   Do you understand that, [Mr. Gonzalez]?

   ***

   The Defendant: Yes, ma’am.

   The Court: And do you further understand that by entering a plea of guilty this
   morning, there will be no trial in this case and you will have waived or given your
   right to a trial, as well as all rights associated with a trial that I have just outlined for
   you a few minutes ago? Do you understand that, [Mr. Gonzalez]?

   ***

   The Defendant: Yes, ma’am.

   ***

   The Court: Okay. What I am going to do now is go over with you the essential
   elements of these two counts. And by essential elements, I simply mean what the
   government would have to prove, the pieces of the puzzle the government would
   have to prove beyond a reasonable doubt to the trier of fact before you could be
   found guilty of each of these, because I want to be sure I understand that you
   understand what it is you are pleading guilty to this morning.

   For Count 1, the essential elements are that there was a conspiracy to possess with
   the intent to distribute or the distribution of 1,000 kilograms or more of marijuana,
   which is a violation of Title 21, United States Code, Section 841(a)(1)(1) and 846.

   The essential elements are this conspiracy existed– and by conspiracy I mean that an
   agreement between two or more persons to distribute or possess with the intent to
   distribute a controlled substance.




                                               12
Case 4:95-cr-00142 Document 5631 Filed on 05/17/06 in TXSD Page 13 of 59




   Second, that you, each of you, as a defendant, knew of the unlawful purpose of the
   agreement, and third, that each of you knowingly or intentionally joined in the
   agreement.

   Do each of you under[stand] those are the essential elements of count 1 of the
   indictment?

   ***

   The Defendant: Yes, ma’am.

   The Court: All right. For Count 5, the essential elements – they are basically, they
   are kind of a two part essential element package.

   The first part has to do with the conspiracy to launder monetary instruments in
   violation of 18 United States Code, Section 1956(g) and (h).

   And the essential elements of the conspiracy are two or more persons made an
   agreement to violate the money laundering laws.

   Second, each of you knew of the unlawful purpose of the agreement, and third, each
   of you knowingly and intentionally joined in the agreement.

   Now, coupled with that, there is also the money laundering aspect of this, and I am
   going to go over the essential elements of money laundering, which is a violation of
   18 United States Code, Section 1956(a)(1)(A)(i), and (a)(1)B)(i) or (ii).

   First, each of you knowingly conducted a financial transaction. Second, the financial
   transaction involved the proceeds of a specified unlawful activity, namely narcotics
   trafficking.

   Third, each of you knew that the property involved in the financial transaction
   represented the proceeds of some form of unlawful activity.

   And, fourth, that each of you intended to promote the carrying on of the specified
   unlawful activity, or, fifth, knowing that the transaction was designed in part to
   conceal, disguised the nature, the source, ownership or control of the proceeds of the
   specified unlawful activity, or, six, knowing that the transaction was designed in
   whole or in part to avoid a transaction recording requirement under state or federal
   law.




                                            13
Case 4:95-cr-00142 Document 5631 Filed on 05/17/06 in TXSD Page 14 of 59




   [Mr. Gonzalez], do you understand the essential elements of both the conspiracy to
   commit money laundering and the underlying essential elements of the money
   laundering statute?

   The Defendant: Yes, ma’am.

   The Court: Okay. Ms. Lombardino, would you tell me what it is the government is
   prepared to prove if we went to trial in the case.

   Ms. Lombardino: Yes, your Honor. Beginning in the early 1980s and continuing
   through 1996, a group of individuals, the heads of which are Pedro Moreno, Ricardo
   Riojas, Ramiro Riojas, Roberto Riojas, Cesar Moreno, Sr., Eduardo Moreno, Luis
   Moreno, Lazaro Moreno and Rudolfo Arias formed an organization whose goal it
   was to possess for the distribution and to distribute marijuana to customers who were
   located in places such as Houston, Texas, Chicago, Illinois, Detroit, Michigan, Ohio,
   and Atlanta, Georgia, and elsewhere throughout the United States.

   During its tenure, 100-plus persons joined in this illegal purpose. Primarily the
   organization operated in Starr County, Texas with salespersons and operations in
   Houston, Texas.

   Generally the marijuana would be imported into the United States into the Starr
   County, Texas area, where it would be stored temporarily until its transportation,
   usually by vehicle, to persons in Houston, Chicago, Detroit, Michigan, Ohio and
   other states throughout the United States.

   It would be sold and the currency from the sale of marijuana would be returned to the
   heads of the Moreno Riojas organization or others in their employ in Starr County,
   Texas and Houston, Texas.

   The members of the organization would be paid for their participation. All in all the
   organization was responsible for the distribution or possession for distribution in
   excess of three-quarters of a million pounds of marijuana.

   It was also part of the conspiracy that when any member was arrested in connection
   with marijuana trafficking activities of the organization, the heads of the organization
   would hire and/or pay attorneys, post bond, provide currency from the sale of
   marijuana to post bail, and provide currency for the support of families of their
   arrested co-conspirators.

   In exchange, the arrested co-conspirators were expected to and did conceal the
   organization’s marijuana trafficking activities and did conceal the other members’
   participation in those criminal activities, particularly the identifying the heads of the


                                             14
Case 4:95-cr-00142 Document 5631 Filed on 05/17/06 in TXSD Page 15 of 59




   organization and their closest co-conspirators. This enabled the enterprise to
   continue its marijuana trafficking activities.

   In particular, your Honor, to summarize the bulk of these defendants’ involvement
   in the conspiracy, I will begin by discussing a little bit about Rene Gonzalez and also
   Yvette Gonzalez.

   Rene Gonzalez discusses with Maurice Gordon becoming a member of the Moreno
   Riojas organization. As a result of these discussions, Maurice Gordon agrees initially
   to travel from his residence in Corpus Christi, Texas to Detroit, Michigan and other
   places where he is to pick up money from the sale of marijuana and return the money
   to Rene Gonzalez.

   Gordon performs these services at Rene Gonzalez’ direction on at least five
   occasions. Initially, Rene Gonzalez supplied marijuana to an individual in the
   Detroit, Michigan area called Roberto Ramos. As necessary, he, too, would travel
   from Starr County, Texas to pick up money from the sale of marijuana.

   Money from the sale of marijuana would also be wire transferred from the Detroit
   area to Rene Gonzalez in either Starr or Zapata Counties.

   Rene Gonzalez also would pick up money and oversee the transportation of
   marijuana to co-conspirators located in the Houston, Texas area. The money, the
   money from these episodes would be usually returned to Ricardo Riojas and/or Pedro
   Moreno.

   Beginning on or about September 28, 1995, and through November 1 of 1995,
   conversations were intercepted pursuant to court-authorized wire interception located
   at the Golden R Meat Market and the residence of Ricardo Riojas.

   Persons that are intercepted are Ricardo Riojas, Yvette Gonzalez, Rene Gonzalez,
   Luis Riojas, Ramiro Riojas and other co-conspirators, in which they discuss and plan
   the transportation and distribution of marijuana to Roberto Ramos and Miguel
   Gutierrez in Detroit, Michigan. This marijuana is transported to Detroit, Michigan
   on or about November 1, 1995.

   Conversations leading up to this distribution of marijuana can be summarized as
   follows. On October 9, 1995, Ricardo Humberto Riojas agreed to delay the shipment
   of marijuana to the persons in Detroit, Michigan when Yvette Gonzalez advises him
   that she and Rene Gonzalez have been under surveillance by law enforcement
   officials.




                                             15
Case 4:95-cr-00142 Document 5631 Filed on 05/17/06 in TXSD Page 16 of 59




   On November 1, 1995, Ramiro Riojas advises Ricardo Riojas that all went well, a
   coded reference that the marijuana has been delivered to the area.

   On November 9, 1995, Ricardo Riojas is advised by Miguel Gutierrez that there has
   been a problem. He has not received his part of the marijuana.

   Ricardo Riojas then instructs Rene Gonzalez and Yvette Gonzalez to get in touch
   with them. That is Miguel Gutierrez and/or Roberto Ramos. Both of the defendants
   start paging Roberto Ramos.

   Yvette Riojas– I mean Yvette Gonzalez advises Lilia Riojas that Roberto is not
   responding to the pages. Later that same day, Ramos calls Ricardo Riojas and tells
   him not to worry, he will do it tomorrow. In other words, deliver that part of the
   marijuana to Miguel Gutierrez. Ricardo Riojas relayed that to Miguel Gutierrez.

   On November 14, 1995, Ramos then contacted Yvette Gonzalez and tells her that the
   guy has backed out of the deal. Tell Ricardo to give me a better price and I will sell
   it all in two weeks.

   Yvette Gonzalez discusses this with both Rene Gonzalez and Ricardo Riojas, and
   eventually an agreement is reached between Ricardo Riojas on November 14, 1995
   and Ramos, and a price is renegotiated on that day of [$]650 a pound rather than
   $675 a pound.

   On December 13, 1995 Ricardo Riojas updates Roberto Riojas on the status of the
   shipment. Ramos promises to have something, that is money, by Christmas.

   On or about December 9, 1995, and pursuant to these discussions that they have had
   on the wire tap, Maurice Gordon, at the direction of Rene Gonzalez, travels to Detroit
   to pick up currency from the sale of the marijuana that had previously been delivered.

   On that same day, Rene Gonzalez talks to Maurice Gordon at a hotel in Detroit,
   Michigan, and Gordon advises Rene that he just got called.

   Rene instructed Gordon that once he gets it– this is the code for the money– to beep
   him, Rene, and put in all 9s, once again code for the fact that the money had been
   picked up.

   On December 14, 1995, law enforcement officers who are conducting surveillance
   on Maurice Gordon follow him to his hotel, where he checks out and heads for the
   airport.




                                            16
Case 4:95-cr-00142 Document 5631 Filed on 05/17/06 in TXSD Page 17 of 59




   At the airport, approximately $55,980 United States currency is recovered from
   Maurice Gordon. This represents proceeds from the sale of marijuana.

   Before that occurs, however, that afternoon Roberto Ramos calls Yvette Gonzalez
   and tells her that the animal had left, once again a coded reference to Ramos’ delivery
   of the money from the sale of marijuana from Maurice Gordon, which was then
   ultimately seized by law enforcement officials.

   The following day Lilia Riojas gets a telephone call from Maurice Gordon. Gordon
   tells Lilia Riojas that he needs the number to the fax machine. She puts another
   individual on the phone who gives the number to Gordon.

   Gordon tells Jose Luis Cantu to let Yvette Gonzalez know that he is faxing
   something to her. At this point Gordon had been told that Ricardo Riojas is asking
   for proof that the money– that is the drug proceeds–that was taken by law
   enforcement officers was in fact taken by law enforcement officers.

   On December 16, 1995, Yvette Gonzalez calls Rene Gonzalez and reads the
   facsimile over the telephone. Yvette says that Roberto Ramos told her that he had
   given Gordon $65,000.

   Rene Gonzalez responds that that still leaves $70,000. This is the $70,000 referred
   to by Rene Gonzalez as money that is still owed to the Riojases for the sale of
   marijuana.

   After these events, on January 19, 1996 agents observed Ricardo Riojas and another
   individual aboard a flight to McAllen, Texas where they fly to Detroit, Michigan.
   They check into a hotel at that location and place telephone calls to the residences of
   Rene Gonzalez and Pedro Moreno and others.

   On January 20, 1996, agents also observe Riojas and the other individual meeting
   with Roberto Ramos. On January 21, 1996, Riojas and Franco and this other
   individual return to Texas.

   Beginning on January 8, 1996, communications were intercepted which lead to
   another seizure which is described below. Ricardo and Roberto Riojas begin
   discussing obtaining a quantity of marijuana once again for distribution to the
   persons in Michigan. This time the individual with whom everyone is dealing with
   is Juan Gutierrez.

   Ricardo Riojas informs Lilia Riojas he is meeting with Juan from Michigan. Riojas
   also talks to Roberto Ramos on January 18 about Riojas coming to Michigan.



                                             17
Case 4:95-cr-00142 Document 5631 Filed on 05/17/06 in TXSD Page 18 of 59




   On January 23, Ricardo Riojas updates Roberto Riojas on the trip to Michigan, and
   on that same day discusses with Bobby Rosa a meeting at which they are to discuss
   an upcoming shipment of marijuana.

   Once again, on February 13, Riojas advises Juan Gutierrez that it should be a few
   more days because they are now lining up the drivers. Following this conversation,
   Ricardo Riojas does make arrangements with another co-conspirator, Felipe
   Gonzalez, Jr., to transport the marijuana to Detroit, Michigan.

   As a result of the continued wire interception and the surveillance by law
   enforcement officers, approximately 320 pounds of marijuana is seized that is
   destined for the Detroit customers, was seized on February 20, 1996, in Mission,
   Texas.

   On March 13, 1996, Rene – following these particular– after this particular seizure
   of marijuana, a court authorizes a wire interception on the residence telephone of
   Rene and Yvette Gonzalez.

   On March 13, 1996, Rene Gonzalez, pursuant to the wire interception, instructs
   Maurice Gordon to travel to the Dallas, Texas area, but to take a circuitous route.

   Federal and other law enforcement officers observed Gordon travel by airplane to
   Oklahoma City, where he then rents a vehicle and drives it to Garland, Texas.

   Subsequently, on March 15, 1996, Gordon is arrested while transporting 160 pounds
   of marijuana. Prior to the actual seizure of the marijuana, Rene Gonzalez is
   intercepted discussing the distribution of marijuana with another individual, Roberto
   Ramos.

   Gordon, after his arrest, contacts Maida Mascorro for her to contact Rene Gonzalez
   to get him out of jail. On March 15, 1996, Mascorro telephones Mike Mascorro.
   Mascorro knows that Maurice Gordon works for the marijuana trafficking
   organization. He then telephones Rene Gonzalez to tell Rene Gonzalez that Maida
   is calling, is everything all right.

   Later that day, Maida Mascorro tells Rene Gonzalez that they got him, and for Rene
   Gonzalez to call her from a number at which they can talk.

   Also during the same time frame, there are discussions on the wire interception in
   which Yvette Gonzalez advises Rene Gonzalez that she is still looking for an
   attorney for Maurice Gordon.




                                            18
Case 4:95-cr-00142 Document 5631 Filed on 05/17/06 in TXSD Page 19 of 59




   During these events, Rene Gonzalez, who is with Mike Mascorro a great deal of
   time, saying that they— also indicates that he is also trying to track down a lawyer,
   and to have the lawyer call him at Mike Mascorro’s home.

   At 8:13 that day, Gonzalez talks to Maida Mascorro, who says that Mike is trying to
   get hold of him and that it will be Monday. Rene Gonzalez instructs Maida to tell
   Maurice that he should not tell them anything, that Mike says Monday he will be out
   without a doubt, Mike explained it and it will be fixed.

   She asked probation or something, and Rene responds, yes, it will not cost you
   anything. Maida responds, it does not matter, it is business. Rene Gonzalez goes on
   to tell her to tell Maurice, tell him not to ruin me. Just chill. The lawyer will be over
   on Monday.

   On March 16, Mike Mascorro places a call from Rene Gonzalez’ home to Maida
   Mascorro. He tells her that Rene Gonzalez is going to pay the $8,500, the 10 percent
   to the bond man, but you need to sign the papers even though Rene is putting up the
   money.

   On March 17, that same day, Rene calls, Rene Gonzalez calls Yvette Gonzalez and
   tells her that he is still at Mike Mascorro’s and they are trying to get the idiot out.

   Mike Mascorro calls Maida Mascorro and tells her that she will have to get all the
   documents, including those from the appraisal district, and you must still sign the
   papers.

   Mike Mascorro also tells Maida Mascorro, we need to get Maurice out. There is
   simply no other way. Mike Mascorro continues to tell Maida that Rene Gonzalez
   said he would get the $8500 for you to go over there to get him out.

   On March 17, 1996, Candy Mascorro speaks to her husband, who is at Rene
   Gonzalez’ home. Mike Mascorro proceeds to tell her that he and Rene Gonzalez are
   going to a particular attorney to give him money for him to go over there to get
   Maurice Gordon out.

   On March 17, Mike Mascorro, masquerading as Rene Gonzalez, calls a bail bond
   company and discusses with them the terms of getting Maurice Gordon out on bond.

   They tell–Mascorro tells the bail bond company that they have the $8500 in cash but
   that it would be difficult to come up with the additional $4,250.




                                              19
Case 4:95-cr-00142 Document 5631 Filed on 05/17/06 in TXSD Page 20 of 59




   Mascorro, utilizing the name Rene Gonzalez, once again calls the bail bond company
   and tells them they will be wiring this money from a bank in Dallas to her account
   in Edinburg, Texas.

   This does not occur. However, on March 18, 1996, agents observe Mike Mascorro
   and Rene Gonzalez arrive at the bail bond company together, where they remain
   inside for 20 minutes.

   Rene Gonzalez, prior to that occasion, had delivered, according to the records of the
   bail bond company, $7200 United States currency to a representative of the bail bond
   company, which was used to secure Maurice Gordon’s release on March 20, 1995.

   The rest of this also relates, your Honor, to the money laundering, the continuation
   of the money laundering conspiracy, and also properties 30 and 29, which are subject
   to forfeiture, so I need to lay the basis of fact for that.

   ***

   On April 15, 1991, Pedro Moreno and Ricardo Riojas purchased approximately 185
   acres of property which is known as the Coyote Ranch for $74,000 in U.S. currency,
   which represents proceeds from drug trafficking.

   In order to conceal their ownership of the property, the Coyote Ranch was titled in
   the names of three different nominees at three different times. The persons in whose
   name the property is titled include Rodolfo Garcia, the defendant Yvette Riojas
   Gonzalez, and Maria Hilda Munoz.

   The first nominee, Rodolfo Garcia, also participated in the marijuana enterprise.
   Additionally, Ricardo Moreno and Pedro Moreno further concealed their ownership
   of the property by not filing the deeds in the county records for the initial purchase
   of the property.

   On May 15, 1992, a warranty [deed] was filed in the county records which stated that
   the property was sold to Irela Yvette Gonzalez on April 29, 1992.

   However, Pedro and Melba Moreno solicited Yvette Gonzalez in order to conceal
   their ownership to participate in the sham transaction in which no money or anything
   of value changed hands. This effectively concealed the ownership of Pedro and
   Melba Moreno, as well as Ricardo Riojas, to sell this property.

   Yvette Gonzalez is the daughter of Lilia and Ricardo Riojas. She is the sister of
   Melba Moreno and the sister-in-law of Pedro Moreno, co-defendants in this case.



                                            20
Case 4:95-cr-00142 Document 5631 Filed on 05/17/06 in TXSD Page 21 of 59




   Ricardo Riojas and Pedro Moreno utilized this property as a place in which they
   stored, wrapped, weighed and loaded marijuana into vehicles prior to its distribution.

   On June 28, 1996, another deed, a warranty deed is filed with the county records.
   This deed purports to show that once again Yvette Gonzalez sells the property to an
   individual, Maria Hilda Munoz, for $10 and other valuable consideration.

   Once again this transaction was a sham and was designed to conceal, Pete, Melba
   Moreno and Ricardo Riojas’s ownership, as well as a source of funds which had been
   used to initially purchase the property.

   A meeting was subsequently held at the residence of Pedro and Melba Moreno where
   a plan was concocted to mislead authorities as to the ownership of the Coyote Ranch.
   A detailed scheme formulated by Pedro Moreno and Melba Moreno and participated
   in by Maria Hilda Munoz and Irela Yvette Gonzalez called for Yvette Gonzalez and
   Hilda Moreno– excuse me, Hilda Munoz, to claim that Yvette had sold the Coyote
   Ranch property to Munoz, even though no sale had taken place, should either of them
   be contacted by federal authorities. Munoz was contacted by federal authorities and
   she relayed to them this fictitious scheme to cover up the sham transaction.

   As to Property No. 29, which is the residence of Rene Gonzalez and the defendant
   Yvette Gonzalez, according to records of Starr County, a warranty deed indicates this
   property was purchased by Ricardo Riojas and Lilia Riojas in May of 1984.

   A promissory note was on the property and it was – a release of lien was entered on
   May 6, 1985. The purchase price of the property was initially $2,008.75.

   The property owner stated that the property, which consists of 2.31 acres, was
   purchased with United States currency, and at the time of the purchase had no
   improvements. It was strictly a lot.

   The U.S. currency used to purchase the properties was proceeds from Ricardo and
   Lilia Riojas’s involvement in drug trafficking activities. Starr County Appraisal
   District records also show since the property has been purchased, improvements were
   added which valued at approximately $51,000.

   Rene Gonzalez was a son-in-law for Ricardo Riojas, and Irela Yvette Gonzalez, who
   is the daughter of Ricardo Riojas, resided on this property and this is the place from
   which Rene Gonzalez also, as well as his wife, would utilize the telephone at that
   location to discuss marijuana trafficking activities, as well as money laundering
   activities, which resulted in the seizure of marijuana, as well as U.S. currency from
   co-defendant Maurice Gordon.



                                            21
Case 4:95-cr-00142 Document 5631 Filed on 05/17/06 in TXSD Page 22 of 59




   ***

   The Court: Okay. All right. Same question to you, Mr. Gonzalez. What was your
   involvement in these two conspiracies?

   The Defendant: I was involved in the conspiracy to deal in drugs. And basically I
   was working for my father-in-law, giving messages.

   The Court: Again, Ms. Lombardino gave us quite a bit of detail about what she feels
   like she can prove in the case. Do you have any quarrel with what—

   The Defendant: Well, the only thing I could say is I was really not like supervising
   anybody. I mean, I was just giving messages for my father-in-law. He would tell me
   to call him and tell him to go over there and do that, and that is it. It makes it look
   like I was the one actually doing the deals and stuff. That’s it.

   The Court: Well, but regardless of the spin perhaps that you would like to put on it—

   The Defendant: I understand.

   The Court: The facts that she was relating, those facts—

   The Defendant: Oh, yes, ma’am. They are–the only thing that I heard there wasn’t
   right was that we were looking for a lawyer for Maurice. We never did look for a
   lawyer, we were looking for a bondsman everywhere. The attorney– we never came
   up with no attorney.

   Ms. Lombardino: I don’t think they hired the lawyer but they did discuss it on the
   wire, getting one, and they were looking for the lawyer, just to make that clear.

   The Defendant: No. I think Maurice, after he got out of jail, he went and looked
   for–talked to Mr. Izaguirre from McAllen but the man was too expensive.

   Ms. Lombardino: I wasn’t trying to say they hired a lawyer. They just, from the wire,
   they were discussing– let me just clear up what it is and maybe he may agree with it.

   But they were discussing on the wire if they were looking for the lawyer, even placed
   phone calls, I do know that, to a lawyer’s office. However, they did not end up hiring
   the lawyer that Mr. Gordon did use in his state court proceedings. Okay?

   The Defendant: Yes, ma’am.

   ***


                                             22
   Case 4:95-cr-00142 Document 5631 Filed on 05/17/06 in TXSD Page 23 of 59




       Yes, ma’am. That is true.

       The Court: How about the money laundering?

       The Defendant: The money laundering is true, ma’am. I went and tried to spring him
       out. I delivered the amount of money she said. I gave it to a guy there in Roma in
       a parking lot. He came over and I signed a receipt. I gave him the money.

       I think it was two parts, though. I gave him one part and then another part.
       (Document No. 4974, pp. 9-24, 27-44, 46-48).


Prior to sentencing, a Pre-sentence Investigation Report (“PSR”) was prepared (Document No. 4684,

Addendum to PSR, Document No. 4717), to which Gonzalez filed written objections.4 (Document

No.4648). Pursuant to the PSR, Gonzalez’ sentence was calculated as follows: (1) In calculating

Gonzalez’ base offense level, because Gonzalez was held accountable for 2,853 kilograms of

marijuana, U.S.S.G. § 2D1.1 directed a base offense 32.            (2) Because Gonzalez was a

manager/supervisor of a criminal activity that involved over five criminal participants, his offense

level was adjusted upward by three levels pursuant to U.S.S.G. § 3B1.1(b). (3) Because Gonzalez

unlawfully influenced a co-conspirator with the intent to obstruct justice during the investigative

phase and at the sentencing phase in the state case, his offense level was adjusted upward by two

levels pursuant to U.S.S.G.   § 3C1.1. (4) With an adjusted base offense level of 37, and with a




       4
         Gonzalez objected to information relating to relevant conduct, ¶¶ 9, 20, 22, and 54. In
addition, Gonzalez objected to the three level adjustment based on his role as a manager/supervisor.
Gonzalez denied that he was a manager or supervisor. Also, Gonzalez objected to not being given
a two level downward adjustment pursuant to U.S.S.G. § 2D1.1(b)(b) and U.S.S.G. § 5C1.2.
According to Gonzalez, because he met all the criteria for the “safety valve” he should have been
given the adjustment. Finally, because Gonzalez fully accepted responsibility for his actions, he
objected to the absence of an adjustment for acceptance of responsibility pursuant to U.S.S.G.
§ 3E1.1(a). According to Gonzalez, his sentencing range should be 70 to 87 months. (Document
No. 4648).

                                                23
   Case 4:95-cr-00142 Document 5631 Filed on 05/17/06 in TXSD Page 24 of 59




criminal history of category 1, Gonzalez had a guideline range of 210 to 262 months. (Document

Nos. 4238, 4717).

       Gonzalez was sentenced on March 15, 2002. (Document No. 4729, Transcript of Sentencing

Hearing, Document No. 4817). The record shows that Judge Harmon considered and rejected all

of Gonzalez’ objections to the PSR, as follows:

       The Court: Mr. Gonzalez, have you had a chance to read over the presentence report
       that has been filed in this case?

       The Defendant: Yes, ma’am.

       The Court: Have you spoken with your attorney, Mr. Ramirez, about it?

       The Defendant: Yes, ma’am.

       The Court: Do you feel like you understand everything in the report?

       The Defendant: Yes, ma’am.

       The Court: Do you have any questions that you’d like to ask about it at this time?

       The Defendant: Like what, your Honor? Like what kind of questions?

       The Court: Well, I mean, just questions such as– just to clarify something that maybe
       you didn’t understand completely.

       The Defendant: No, I understand.

       The Court: Yeah. Okay. All right.

       Now, Mr. Ramirez has filed some objections to the report and I’m going to go over
       those in just a minute, but I want to find out from you whether you have any
       objections to the report that you’d like to tell me about that Mr. Ramirez hasn’t filed.

       The Defendant: Well, I wanted to say about the acceptance of responsibility, your
       Honor. They’re saying that I didn’t accept responsibility when I admitted to a Level
       32 which carried 2200 pounds to 6600 pounds. My PSI came back with 5,000
       pounds and it falls within that category.



                                                  24
Case 4:95-cr-00142 Document 5631 Filed on 05/17/06 in TXSD Page 25 of 59




   You know, the only think that I didn’t do was elaborate on it, you know. I didn’t give
   details about them or anything, but I am responsible for that. But I don’t know—
   that’s all I wanted to say.

   The Court: Yeah. Okay.

   The Defendant: I take full responsibility for whatever— for those pounds; you know;
   but I just didn’t give any details about them; and I’m not sure if – I didn’t want a 5K,
   your Honor. You know, I didn’t want to put my family in any kind of risk or
   anything, you know, somebody retaliate against them or anything, you know, because
   I know whatever I say to the agents or whatever I say to the probation office, they’ll
   use it in other people PSIs to raise their levels; and then, they’ll know that it was me,
   you know; and I don’t want anything to happen to my family.

   The Court: Okay.

   The Defendant: That’s why I didn’t elaborate, but I did accept, your Honor. That’s
   why I pled guilty to an minimum of ten years, you know. That’s a lot of time. You
   know, I never spent any time in jail. I didn’t just, you know, overnight said, “Yeah.
   I’m going to plead guilty to ten years of my life” because I knew that it carries — you
   know, I was getting responsibility for 2200 pounds to 6000 pounds at least, you
   know, ten years; and I accepted that. Like I said, I didn’t elaborate on them, but I did
   accept those pounds. That’s it.

   The Court: Okay. I think Mr. Ramirez has made an objection to your not receiving
   acceptance of responsibility, and I’m going to let Ms. Lombardino respond to that
   when we get there. Is there anything else?

   The Defendant: Also, the manager, supervisory role, your Honor. I merely was a
   messenger, your Honor. I merely made some – I gave some messages out for the old
   man. That’s all I did. I don’t know–

   Mr. Ramirez: I think I objected to that also.

   The Court: I think Mr. Ramirez objected to that, too.

   The Defendant: Other than the objections?

   The Court: Yeah.

   The Defendant: Okay.




                                              25
Case 4:95-cr-00142 Document 5631 Filed on 05/17/06 in TXSD Page 26 of 59




   The Court; I was just trying to find out if there were any objections that Mr. Ramirez
   didn’t make.

   The Defendant: Yes. They put five kilos of cocaine in my PSI, your Honor; and they
   said I was – Eutiquio Guerrero had sold me half a kilo less than – on less then ten
   occasions. But yet, on the fact at the end, they multiply it half a kilo times ten when
   it said less than ten. They didn’t mention it was one time, two times, or three times,
   you know.

   The fact is that it was one time, that I can remember for sure was one time that I
   bought half a kilo. And the PSI says that I’m responsible for at least – no, on less
   than ten occasions I had bought half a kilo from Guerrero; but it doesn’t say how
   many, ten, three, one. You know, less than ten occasions could be any number. But
   yet, they multiplied ten times half and stuck me with a thousand pounds.

   The Court: What is that, Ms. Lombardino?

   Ms. Lombardino: I’m trying to find it.

   Mr. Ramirez: I think it’s towards the end of the relevant conduct part.

   Ms. Lombardino: 54 is where I – where I see that there’s a total amount. I’m trying
   to find out what was said in the PSR itself.

   The Court: Oh, I see. I see what he’s saying. He said five kilograms of cocaine
   which is a total marijuana equivalency of – well–

   The Defendant: No, no, no. It’s not that one. It’s over here, your Honor. It’s over
   here where it says— its says specifically that — I don’t know if it’s Eutiquito
   Guerrero who’s saying or who’s saying, but that’s wrong. Let me find it.

   The Probation Officer: Your Honor, it’s in paragraph 34 of the PSR.

   The Defendant: 34?

   The Court: 34.

   The Probation Officer: And your Honor, I think I can speak to that.

   ***

   Yes, your Honor. According to the debriefings, as I recall, the information was that
   on less than ten occasions it was half a kilo and on one occasion it was a full kilo.


                                             26
Case 4:95-cr-00142 Document 5631 Filed on 05/17/06 in TXSD Page 27 of 59




   We tried to take the conservative approach and do a half a kilo on all occasions and
   came up with an estimated quantity of five.

   The Court: Okay.

   The Defendant: Your Honor, it’s not true, your Honor. My god, it’s not true. It’s not
   true. It’s not true. I swear to god it’s not true.

   The Court: Wait. It’s not true that you dealt in cocaine or it’s not true—

   The Defendant: No, no. It’s true I accepted at least half a kilo. That’s true. That is
   true. But not five kilograms, your Honor.

   The Court: So, just on one occasion—

   The Defendant: No. It was two occasions.

   The Court: Two occasions?

   The Defendant: Yes.

   The Court: So, it was one kilo?

   The Defendant: It was one and half. First, he brought me one kilo, and then he had
   given another kilo to somebody else and he couldn’t sell it. And it wasn’t half a kilo,
   it was 11 ounces. The second one he brought me was 11 ounces of cocaine, not half
   a kilo because half a kilo is 18, I think.

   It was a kilo first; and then, that guy he gave the other kilo to couldn’t sell it. So, he
   brought it back. He brought it to me, half a kilo. It was 11 ounces actually. So, it
   was a kilo and 11 ounces within a three-month period.

   ***

   –on this confidential informant, which I know who he is, he says here that I send him
   and that I instructed him to go to Detroit, Michigan. That guy brought his cousin to
   talk with my father-in-law, your Honor. They went and talked to my father-in-law
   to by-pass their other cousin that was selling to that other guy from Detroit.

   They by-passed him because he was making too much money. So, they found out
   that Ricardo was taking, you know, the drugs to him by that other cousin. So, he
   came–he asked me that – if I knew Poncho was grabbing stuff from from mi suegro,
   from my father-in-law. So, they come and ask me– they asked me what I can do for


                                              27
Case 4:95-cr-00142 Document 5631 Filed on 05/17/06 in TXSD Page 28 of 59




   them so they can by-pass the other cousin that was making $150 a pound, and his
   name is Max Gutierrez, and I told the agents that.

   They come and talk to my father-in-law. So, my father-in-law arranges, “Okay,
   we’re going to work” and I’m going to give Godfrey,” the CI. “I’m going to give him
   $5,000 a trip. That’s what he told him. So, guess what? Godfrey tells my father-in-
   law, “well, you know what? I need some money up front.”

   Next thing I know, my father-in-law comes and tells me that Godfrey is in Detroit,
   Michigan. I didn’t tell him to go nowhere. I didn’t instruct him to do nothing. He
   left over there by himself to make sure that he would get his cut. That’s why he went
   over there and stayed with his cousin. But I never send him nowhere. That’s not
   true.

   The Court: Okay. All right. Any other objections that Mr. Ramirez hasn’t made for
   you?

   The Defendant: Yes, ma’am. There is another one.

   The Court: Okay.

   The Defendant: Mr. Stanley Saucedo, he mentions me and some other people that are
   not indicted on — I don’t have know what paragraph. It’s 300 and some pounds. I
   have no involvement in that. I don’t even know what he’s saying. In the other ones,
   he said 150 pounds. That’s true. That’s true with the fact that I told them that I
   might know somebody who had.

   And I told him, “Look, call these people and they might have some.” And he did go
   get them and he never paid them. He never paid them. But that is true. That is true.
   But the other 300 pounds, they’re talking about North Carolina and a whole bunch
   of people. I don’t even know anything about that. That’s the fact. I swear to God
   that’s the fact. I don’t know nothing about those 300 pounds.

   Also, another 300 pounds involving the Rosa brothers in McAllen. My father-in-law
   mentions to somebody over there in Detroit, I think, Roberto Ramos, he says that —
   Roberto Ramos asks him if I knew about the load; and he goes, “Well, he’s helping
   out.”

   But that was not true, your Honor, because they were doing it behind my back. You
   see, he told Roberto Ramos that he did know that I was helping out because he didn’t
   want for Roberto to know that he was going behind my back. He thought that
   Roberto Ramos would not grab the marijuana if he knew that I did not know.



                                            28
Case 4:95-cr-00142 Document 5631 Filed on 05/17/06 in TXSD Page 29 of 59




   But I did not know about that weed. I never knew about it. Not until I’m arrested
   and I see my counts, and Robert Rosa and all those people are in there. I go talk to
   them in Conroe and ask them, “What’s this?” And then, they tell me the story that
   they got caught in McAllen and some other stuff. I didn’t even know about it. I
   swear I didn’t even know about it.

   And they still charge it to me. In sum here it says, ba, ba, ba, ba. They’re mentioning
   my father-in-law for everything. And then, at the end they just put “And Rene
   assisted.” But your Honor, I did not assist. Or “Rene helped.” I did not help. Not
   in that, your Honor. I swear I did not help in that.

   The Court: Anything else?

   The Defendant: No. That pretty much covers it.

   The Court: Okay. All right. Let’s — the Government has objected to the PSR
   because it did not reflect a 2-level upward adjustment for obstruction of justice, and
   the probation officer in the addendum has agreed with that.

   It there anything further anybody would like to say about that?

   ***

   Mr. Ramirez: I was shocked when I saw that addendum by the presentence– by the
   probation officer because, Judge, it appears to me from what’s in the objection and
   what’s in the addendum is that they’re taxing Mr. Gonzalez, asking that he be held
   accountable for obstruction for something that somebody else did, that Mr. Maurice
   Gordon was sentenced– and I’m assuming that this is a state charge that he was
   sentenced on.

   I don’t believe we have a transcript of that. The statement in the objection is that he
   did not implicate Mr. Gonzalez when he was sentenced in that state court. Well,
   number one, we don’t know whether he was ever asked about Mr. Gonzalez there,
   and we don’t know whether or not Mr. Gonzalez was involved in that particular load
   either.

   So, I think it’s really reaching to hold Mr. Gonzalez responsible for obstruction of
   justice based on what somebody else does. Now, there’s the implication that Mr.
   Gonzalez and Mr. Gordon had an agreement not to give information on each other,
   but that is, basically, an implication, and that is not specifically tied into this
   particular sentencing that Mr. Gordon had in state court.




                                             29
Case 4:95-cr-00142 Document 5631 Filed on 05/17/06 in TXSD Page 30 of 59




   And Judge, Mr. Gonzalez is already looking at an appreciable amount of time for his
   involvement in this conspiracy, and I really think it’s really piling on here in view of
   his involvement in this conspiracy, in view of the level that he’s at with reference to
   all the other Defendants to now and try and add more points for obstruction of
   something that somebody else did.

   If Mr. Gonzalez had done something to obstruct justice, then I can understand that;
   but they are stating that Mr. Gordon didn’t mention his name so somehow that makes
   Mr. Gonzalez responsible for obstruction; and I disagree, Judge; and I do think that
   it would be a miscarriage of justice to add on points for something Mr. Gordon did
   on Mr. Gonzalez.

   ***

   The Defendant: Your Honor, I read the PSR report about that. Maurice Gordon, he
   was – he made a deal with some other Mexican guy. I was there. He made a deal
   with some Mexican guy. His name is Felix Mendoza. He made a deal with him that
   he would do that because my father-in-law was dirty enough to shoot us and do all
   kinds of stuff to us, burn his house down and all this crap.

   So, he wanted to make some money back to pay the old man so he could get him off
   his back because he couldn’t sleep. And he asked me to talk to that guy that had
   approached him before. He had already approached him before. And he asked me
   if I could find him and see if he had a job for him or something. And he did.

   And I took him and he talked to the man and they got together on the information and
   everything, and they got together, and he said he was going to transport the stuff for
   him. Okay. I knew about it. Yes, I knew about it. I knew about it, and I take
   responsibility for that. But I did not – the marijuana was not mine, you know, so I
   couldn’t tell him “Don’t say nothing.” I never told him “Don’t say anything or
   nothing,” your Honor, never.

   The Court: Ms. Lombardino, response?

   Ms. Lombardino: Oh, yes. First of all, for Mr. Gonzalez to stand here and tell this
   Court that this explanation he just gave is completely refuted not only by the — about
   his involvement with Maurice Gordon on that last marijuana load during a court-
   authorized wire interception of his home, not Ricardo Riojas’s home but Rene
   Gonzalez’s home, and to sit here and tell this Court that, you know, he’s — which
   he typically does, is that he’s not really involved in all of this, this is something that
   all these other people did, but he knew about it, but he knew about it, well, the wire
   tap conversations certainly that are relayed in the PSR completely refute that.



                                              30
Case 4:95-cr-00142 Document 5631 Filed on 05/17/06 in TXSD Page 31 of 59




   And if the Court wasn’t going to give him obstruction of justice based on what
   happened involving Maurice Gordon at a trial when he was arrested and then put on
   trial for the very marijuana we’re talking about here, then, this should constitute
   obstruction of justice, if nothing else.

   But that aside, it would appear to me that the PSR— the addendum to the PSR is
   absolutely correct. It was part of the agreement that they had. Maurice Gordon was
   going to be let out on bond. This man got on the phone, tried to find attorneys for
   Maurice Gordon, made arrangements to get him out on bond with the complete
   understanding– not even understanding, stated understanding, that “Don’t ruin me
   over all of this” so that he could keep quiet about Rene Gonzalez’s involvement in
   this episode.

   It was part of their agreement, had always been part of their agreement, and that is
   the agreement that they had. And keeping with that agreement, Mr. Gordon kept up
   his part of the bargain. Now, for that reason, he is held accountable under the law for
   obstruction of justice and should be awarded that.

   In addition, your Honor, like I just pointed out, what he just said here today – in fact,
   what he said pretty much through his explanations, I think in addition to that, one
   thing I also noticed while I was reading the PSR is that in Paragraph 73 when the
   probation department declines to give him acceptance of responsibility initially, they
   point out that the Defendant provided false information in his affidavit.

   We’re not talking about not going into details as he has portrayed to the court here
   today. We’re talking about out and out falsehoods. For example, you know, in
   September, 1995, the Defendant was directly involved in his first marijuana
   transaction. I mean, the PSR completely refutes and his own comments completely
   refute that that is a true statement.

   And this is not about him omitting things about other people in his acceptance of
   responsibility statement, it’s about him lying about his conduct. Because they’re not
   interested– the probation department is not really interested in exactly what
   everybody else did when you’re talking about acceptance responsibility, it’s
   interested in what Mr. Gonzalez did.

   And the probation department itself also went on to say, “He greatly minimizes his
   participation in the events.” Doesn’t talk about that he didn’t mention all his other
   little drug trafficking business. It talks about he minimized his participation in these
   events.

   And those— that conduct by itself also, even though it’s not reflected in the PSR,
   would constitute obstruction of justice under 3C1.1 because he provided materially


                                              31
Case 4:95-cr-00142 Document 5631 Filed on 05/17/06 in TXSD Page 32 of 59




   false information to a probation officer during the course of a PSR investigation with
   the intent to influence that PSR investigation to give him acceptance of
   responsibility.

   So, his conduct today, in addition, – and his conduct when he gave his statement, in
   addition to the obstruction of justice reasons which are set forth in the addendum, all
   are sufficient to award him obstruction of justice here today.

   Mr. Ramirez: Judge, you know, whether or not he fully accepted responsibility is
   something that the Court has to decide based on what the probation officer has
   represented in the report. What I am arguing is that he should not be taxed with a 3-
   level upward adjustment for obstruction of justice based on –

   The Court: Two levels.

   Mr. Ramirez: — a 2-level obstruction of justice based on a statement – a blank
   statement that Maurice Gordon did not reveal his identity in a state sentencing
   because we don’t have any information. In a state sentencing, as this Court well
   knows, you’re not asked to provide information on other people most of the time.
   You are sentenced based on your plea and that’s it.

   So, without a transcript, without any evidence to present to this Court what Maurice
   Gordon took any steps to hide his involvement, then, that’s a bogus argument, Judge
   because there is no evidence before this Court that Maurice Gordon did that. That’s
   a blanket statement. That’s speculation, which, basically, half of this PSR is
   speculation, to be honest with the Court.

   If the Court has read – I know the Court has read the PSR. Half of it is speculative.
   They speculate 50 pounds per week for a year. Now, they don’t say where they got
   that information. They don’t say how they come up with those figures. But we’re
   not arguing that because we know Mr. Gonzalez is facing a 10-year minimum.

   He didn’t safety valve and he didn’t 5K. But then to ask that he be sentenced –
   instead of ten years that he be sentenced at 17 years, what Mr. Gonzalez was, Judge
   Harmon, was a glorified gofer in this organization. And I think Ms. Lombardino
   knows that. I think everybody else knows that.

   If Mr. Gonzalez was as high up in this hierarchy as they are saying, then where is the
   property that he accumulated? Where are the vehicles? Where is the jewelry?
   Where are the vacations that the Morenos and the Riojas took? Mr. Gonzalez
   accumulated no property. He owns nothing. He never has owned anything. He
   owned one pick-up truck. That’s all he had to his name.



                                             32
Case 4:95-cr-00142 Document 5631 Filed on 05/17/06 in TXSD Page 33 of 59




   What he was was a glorified gofer working for his father-in-law; and to upward
   adjust this man to 17 and half years, as the probation officer wants this Court to do
   and as the Government wants this Court to do, that is a miscarriage of justice.

   Ten years in prison fits the crime here. That fits what Mr. Gonzalez has done, not 17
   years, Judge. And we’re asking the Court to sentence him at the mandatory
   minimum, which would be ten years.

   ***

   Ms. Lombardino: May I just respond for a moment? I mean, I don’t believe that the
   determination is that he should get ten years here. The question is a matter of law
   and fact whether obstruction of justice should apply, and that’s – so, I just would ask
   the Court not to consider that sort of argument on this; and we believe that the PSR
   has demonstrated– and it’s not just a whim.

   I mean, the probation office has done a thorough investigation. It’s interviewed the
   people that have, you know, been involved to determine that this – it did happen.
   He’s just coming in here and saying it didn’t, but he has no basis to say– if you want
   to talk about speculation, that’s the speculation.

   The Court: Well, I think that Paragraph 52 is based upon credible evidence, certainly
   can find by a preponderance of evidence that Mr. Gonzalez obstructed justice. So,
   I am going to sustain the Government’s objection to Paragraph 71 and give Mr.
   Gonzalez a 2-level upward adjustment for obstruction of justice.

   Now, the next objection is by the Defendant and that has to do with the money
   laundering, $61,000.

   Mr. Ramirez: Yes, Judge. And I did file those objections, but I would represent to
   the Court that even if the Court were to adopt those objections, we still fall at the
   same level. We still fall at a base level of 32.

   The Court: All right.

   Mr. Ramirez: So, for the record, I am urging those objections, but I would represent
   to the Court that they wouldn’t change the base offense level even if the court
   adopted them.

   The Court: Well, I’m going to overrule your objection to Paragraph 9.

   Next objection is to Paragraph 20. It has to do with 1200 pounds of marijuana
   transported to Detroit, Michigan, from 1993, 1994.


                                             33
Case 4:95-cr-00142 Document 5631 Filed on 05/17/06 in TXSD Page 34 of 59




   Mr. Ramirez: And once again, Judge, that is the – that is the paragraph wherein there
   is an estimation of 50 pounds of marijuana every two weeks for approximately one
   year which are supplied by Ricardo Riojas and assisted by Rene Gonzalez, and I just
   don’t see– that’s speculation. That is speculation. I don’t see anything in the PSR
   that would reflect actual trips every two weeks with 50 pounds. And – but by the
   same token, Judge, that would not change the base offense level.

   The Court: Of course, the sentencing guidelines allow for estimation when there is
   no drug seizure, and I think there is sufficient credible evidence to find from the – as
   the probation officer says, from the IRS CI and credible and reliable co-conspirators
   that this was done. So, I’m going to overrule your objection to Paragraph 20.

   Now, the objection to Paragraph 22 has to do with laundering $310,000, conspiracy
   to possess with intent to distribute 545 pounds of marijuana between June 5, 1995,
   and September 6, 1995.

   Mr. Ramirez: Yes. And of course, upon reading that paragraph, Judge, the word
   “usually” is used several times. These are based on airline records wherein Maurice
   Gordon went to Detroit. And so, every time Maurice Gordon would go to Detroit,
   the probation office and the Government, therefore, linked the trip to Detroit to Rene
   Gonzalez and his participation in a drug transaction without any concrete evidence
   to back up or support that speculation, Judge.

   And it’s just — it’s based on airline records and average amount of money that is
   picked up and then calculated and added up together and attributed to Rene Gonzalez
   on relevant conduct, and it’s just – it is speculation. There is no way you can read
   that paragraph and not say that they’re speculating about the amounts involved and
   whether or not Rene Gonzalez was involved on each and every one of those trips that
   Maurice Gordon took to Detroit.

   Ms. Lombardino: Your Honor, I would also like to say I believe the Defendant
   himself has admitted in some statement he gave to the probation department, which
   is included in here, that there were at least four to five trips in which Maurice Gordon
   traveled to pick up money. So, I don’t believe that that part is speculation.

   In addition, I believe that the probation department has indicated that this wasn’t just
   an estimate. These were the number of times – they just were using the – I believe
   they’re taking this out of context. They’re using the airline records just to
   corroborate the information that came from the individuals that provided the
   information that they actually traveled.

   Maurice Gordon actually traveled there on those days and was corroborated by the
   records. And the whole point of him traveling there, which was provided to the


                                             34
Case 4:95-cr-00142 Document 5631 Filed on 05/17/06 in TXSD Page 35 of 59




   probation office, was for him to pick up money; and he had been doing that and he
   was directed to do that at Rene– Rene Gonzalez was the person who did that, who
   would tell him when to go, when to pick up; and I believe all that is in the PSR.

   So, it’s not based on just records alone; and the amounts also come from interviews
   that the probation department has also conducted that relate to the amounts of money
   that were attributed on each time, and they generally take the lower figure and use
   that figure, it’s my understanding–Ms. Pope can speak to that differently– in
   determining whether– you know, the total amount for those trips; and it’s just
   summarized in a paragraph. That’s what is said and that’s what is said in the
   addendum.

   The Court: She says– Ms. Pope says in the addendum that “the information in
   Paragraph 22 was based on debriefings of the cooperating co-conspirator and was
   corroborated through the airline records, hotel records, and money seizures.” So, I’m
   going to overrule the objection to Paragraph 22.

   Paragraph 54 has to do with $757,040 in laundered funds and 2,853 kilograms of
   marijuana; and that’s what Mr. Gonzalez was telling me about earlier, I believe.

   ***

   Mr. Ramirez: That’s correct, your Honor. That’s just a global objection based on my
   previous objections, that the totals should not reflect those–those amounts.

   ***

   The Probation Officer: Well, your Honor, even if the five kilos was deducted and we
   used the Defendant’s amount of 1.5 kilograms, it does not change the offense level.
   We got to get under a thousand kilos of marijuana along to get below a level of 32.

   The Court: Okay, all right. Then, I overrule the objection to Paragraph 54. All
   Right. Paragraph 70 is the upward adjustment.

   ***

   Mr. Ramirez; That’s the objection we made to labeling him a manager or supervisor,
   your Honor.

   ***




                                            35
Case 4:95-cr-00142 Document 5631 Filed on 05/17/06 in TXSD Page 36 of 59




   And Mr. Gonzalez has over and over told people that he did not manage Maurice
   Gordon or supervise him. He introduced Maurice Gordon to his father-in-law who
   then managed and supervised Maurice Gordon.

   The fact that Mr. Gonzalez participated with Maurice Gordon in some of the
   transactions does not make him a manager, supervisor; and he certainly never was a
   manager supervisor of Maurice Gordon.

   Ms. Lombardino: Your Honor, it’s very clear from the PSR and the wire tap
   conversations. There is no question that the person directing the activities of Maurice
   Gordon, just if you just look at the wire tap itself, was Rene Gonzalez and the IRS
   CI.

   What is not noted in the addendum is that he also directed the activities of his wife.
   If you just look at the — read the synopsis of the wire tap conversations, he also told
   his wife, Yvette Riojas Gonzalez, what to do, who to call, what to say.

   So, in addition to what’s here, I believe the Court can look at the PSR itself and also
   see that he was directing more than one person. He is not some glorified flunky.

   The Court: I believe the credible evidence would indicate that Mr. Gonzalez was not
   a glorified flunky. I’m going to overrule the objection to Paragraph 70.

   And then, you object to Paragraph 68 where you were not given the 2-point safety
   valve.

   Mr. Ramirez: I withdraw that objection, your Honor.

   The Court: All right. And also object to 73, the acceptance of responsibility.

   Mr. Ramirez: Yes. And we will – we will argue that. We do argue that objection,
   your Honor. Mr. Gonzalez has accepted responsibility for what he did. The fact that
   he didn’t do a safety valve or 5K1 and give more information to the Government, he
   did begin debriefings. They didn’t go well.

   But he has accepted responsibility for what he did, what he participated in; and it’s
   my understanding that that is what is required of the statute – by the statute for
   acceptance of responsibility; and we believe that he has done that and should be
   given the three points for acceptance.

   The Court: Ms. Lombardino?




                                             36
Case 4:95-cr-00142 Document 5631 Filed on 05/17/06 in TXSD Page 37 of 59




   Ms. Lombardino: I can say as to his debriefings, your Honor, he minimized his own
   conduct in our debriefing so I don’t want that to be left unsaid, and that was one of
   the reasons why the debriefing did not go well. In fact, it was only– my recollection
   is one debriefing that did not go well.

   I did not personally participate in that, but I have interviewed the agents who did
   participate in that, and their assessment was in addition to him not providing
   information that related to his sources of marijuana, his customers, he completely lied
   about Eutiquio Guerrero’s role in the offense. He also covered up for Mike Mascorro
   in his interview with them, and he also did not relay his activities and the activities
   of his brother Gutoy to the agents. So, I don’t believe that his debriefing does
   anything to help him in this situation.

   Mr. Ramirez; And your Honor, just a brief reply to that.

   The Court: Sure.

   Mr. Ramirez: I don’t think that that is what is required of a person for acceptance.
   I don’t think they have to debrief with agents to get acceptance of responsibility. So,
   I don’t understand that argument. He did not debrief. There is not doubt about that.
   He did not debrief the way he would have been required to debrief for a 5K1 or a
   safety valve, but he did tell the probation officer his – he pled guilty to this Court
   timely, and he did tell the probation officer about his involvement in the offense.
   Whether or not he gave names or was specific about other people’s involvement, I
   don’t believe that is required either for acceptance of responsibility.

   Ms. Lombardino: I think you misunderstood. I’m not saying —I thought you were
   saying he did all this in his debriefing so, therefore, that should somehow count; and
   I was just addressing that. Maybe I misunderstood counsel and all I was trying to do
   is that did not happen in his debriefing. I agree with counsel, it’s what he tells the
   probation department. I’m sorry. I misunderstood you.

   The Court: According to Ms. Pope in her addendum, the defendant has not
   demonstrated acceptance of responsibility based on the statement provided to the
   probation office as he minimizes his own involvement and falsely denies relevant
   conduct.

   So–plus, he’s – if you have obstruction of justice, it’s close to impossible to get
   acceptance of responsibility. So, I’m going to have to overrule your objection to
   Paragraph 73 and deny his acceptance of responsibility.

   And finally, you objected to Paragraph 76 which calculates the 35.



                                             37
Case 4:95-cr-00142 Document 5631 Filed on 05/17/06 in TXSD Page 38 of 59




   Mr. Ramirez: Yes, your Honor.

   The Court: And I’m overruling that, too, based upon my overruling the other
   objections. I adopt the presentence report as my own, both the findings of fact and
   the application of the guidelines to the facts, find a total offense level of 37, criminal
   history category of I, which gives a guideline provision range of 210 to 262 months.

   Anything else before I pronounce sentence?

   Mr. Ramirez: Judge, just that I’d ask the Court to – if the Court is adopting that
   guideline range, to sentence Mr. Gonzalez at the minimum, Judge. I’ve already told
   the Court Mr. Gonzalez was not high up in the hierarchy of this organization, and I
   think everybody understands that. And he did not accumulate any property. He
   didn’t become a millionaire. He didn’t even have enough money to buy a house.

   To sentence him– as it is, if the court sentences him at the low end, we’re talking
   about 17 and [one] half years of time, and I think that’s outrageous for what he did.
   But obviously, the Court has adopted that finding. I’d ask the Court to at least
   sentence him at the low end and not in the middle or high end.

   ***

   Judge, this is not– this is not Monopoly, this is not time out. If Ms. Lombardino is
   representing to this Court that 17 and half years in jail is not a significant amount of
   time for punishment, then, I think that’s a misrepresentation.

   Judge, to sentence him at the high end would be to say, “You know what? You are
   never going to be a member of society again.” And he doesn’t – maybe the leaders
   of this organization deserve that, not Mr. Gonzalez. 17 and half years is along time.
   For those of us who have never been in jail, I don’t think we realize how long that is.
   That is a very long time, Judge.

   And we’re asking the Court – the Court has adopted the PSI. The Court has
   overruled all our objections. All we’re asking is that the Court sentence him at the
   low end of the guideline range so that he has an opportunity to serve his time and be
   with his family again.

   That’s – he still has along ways to go, Judge, even if the Court gives him the low end.
   He’s been in jail five years, and he’ll be looking at another 12 years in prison.

   ***




                                              38
Case 4:95-cr-00142 Document 5631 Filed on 05/17/06 in TXSD Page 39 of 59




   The Defendant: Yes, your Honor. I would like to thank my family for all the support
   I’ve had for the past five years, and somehow being incarcerated helped me. I would
   probably be dead by now. I was doing too much drugs and too much crazy stuff.

   So other than that, your Honor, I apologize for anything, you know, misconduct that
   I had; and I don’t know, your Honor, I’m speechless. I’m speechless right now. I
   never tried to obstruct justice. I never tried to – I don’t know. I don’t know. My
   mind went blank.

   ***

   I know I broke the law, you Honor; but I don’t think I deserve 22 years of my life in
   jail, your Honor. I was not – oh, my god. I know I broke the law, your Honor. I
   know I broke the law, your Honor. But from a level 32, I went up to 22 years?
   That’s almost tripling of my time.

   I don’t know. I’m not as bad as you think I am, your Honor. I am not. I swear to
   God I’m not. I will just ask for your leniency, I guess, and forgive me.

   I love my family. I wish I could be with them again sometime, some day, and the
   reason I didn’t – you know, it was not that I was trying to protect nobody or anything,
   I mean, the drug traffickers as Ms. Lombardino said. I’m not trying to protect the.
   I’m trying to protect my family, my boys, my wife, my mother.

   It’s very easy to come, you know, and mention people and all this. But what about
   the consequences to my family? You see, I’m responsible for my acts, not them. So
   I don’t want to – why would I want to implicate them in my misconduct? That’s why
   I didn’t say anything, because I fear for their safety, not because I want to protect no
   drug dealers because nobody protected me.

   Everybody put me down the chute, and it’s not that. I swear it’s not that. I was
   trying– I don’t want nothing to happen to my family. That’s it.

   Ms. Lombardino: Your Honor, I would just like to point out that his wife testified
   before this Court in hearings.

   The Court: Yes, I remember.

   Ms. Lombardino: Or trial, I believe.

   The Court: Yes, she did. She testified at trial. Well, Mr. Gonzalez, it’s not that I
   think you’re a bad person. I don’t think you’re a bad person. And certainly, you
   know, if it were up to me to forgive you, I certainly do. It’s just that I’m not sure that


                                              39
Case 4:95-cr-00142 Document 5631 Filed on 05/17/06 in TXSD Page 40 of 59




   you have fully come to grips with what you’ve done. And Ms. Lombardino is
   arguing that you’re not going to change even after 17 years in –

   The Defendant: I have changed, your Honor–

   ***

   –as of– five years, your Honor– I’ve been incarcerated in a little block for five years,
   your Honor. I’ve had five and half years to think about this every single night. For
   five years— five and half more years, that’s all I’ve thought about, and I don’t think
   my kids or my wife or my family deserve what I’ve done; and I don’t– I will never
   do it, your Honor, for them. Maybe not for me, as you say, it was only for me.

   But for them, I would do anything, your Honor. I want to be with them again
   sometimes. I don’t want to go out and my kids be 20 years old. I swear, your Honor,
   it’s over. It’s over, your Honor. Even if I have to live under a bridge or anywhere.

   I really didn’t even have anything out of there. I didn’t. The house didn’t belong to
   me. The cars belonged to the GMAC or to the bank. I never owned no expensive
   clothes. I never own nothing. I never went on trips. I never – I don’t know. I just
   don’t feel that– the high end of the guidelines, your Honor, it’s a life sentence, your
   Honor. It’s a life sentence, your Honor.

   Ms. Lombardino: I hope not.

   The Defendant: I’m – 15 years of my life in prison, if that won’t change me, 22 years
   won’t change me either. But I swear to God, your Honor, it’s over. It’s over. You
   have my word, it’s over. It’s over.

   The Court: Well, I must say that I hope you won’t think that you’ve bamboozled me
   with my words–

   The Defendant: No, your Honor.

   The Court: – if I say that in this particular situation I think 17 years is enough. I
   realize an extra five will keep him off the street. If he is going to be a recidivist, you
   know, you would want to do that; but I don’t know. We can’t tell. And I hope that
   17 years will change him so that he will not go back into the business. (Document
   No. 4817, pp. 3-30, 33-37).




                                              40
   Case 4:95-cr-00142 Document 5631 Filed on 05/17/06 in TXSD Page 41 of 59




The Court sentenced Gonzalez to concurrent terms of 210 months on counts 1 and 5, to be followed

by a five year term of supervised release on count 1 and three year term of supervised release on

count 5, with the terms of supervised release to be served concurrent. Also, the Court imposed a

special assessment of $200, and one hundred hours of community service. (Document No. 4729,

Transcript of Sentencing Hearing, Document No. 4817, pp. 37-39). Judgment was entered on March

25, 2002 . (Document No. 4737).

       Gonzalez appealed his conviction and sentence to the Fifth Circuit Court of Appeals.

Gonzalez challenged his guilty plea on the ground that there was not a sufficient factual basis to

support the drug quantity on which is sentence was based. The Fifth Circuit affirmed his convictions

on April 3, 2003. (Document Nos. 5128, 5129). In affirming Gonzalez’ convictions and sentence,

the Fifth Circuit wrote:

       Gonzalez challenges his guilty plea to the marijuana charge on the ground that the
       factual basis was not sufficient to establish his involvement with the drug quantity
       on which his sentence was based. Gonzalez argues that his unconditional guilty plea
       and his waiver of the right to appeal his sentence do not preclude his challenge to an
       illegal sentence.

       We review a challenge to an appeal waiver de novo. United States v. Baymon, 312
       F.3d 725, 727 (5th Cir. 2002). A defendant may waive his statutory right to appeal
       as part of a valid plea agreement if the waiver is knowing and voluntary. United
       States v. Robinson, 187 F.3d 516, 517 (5th Cir. 1999).

       Gonzalez waived “the right to appeal the sentence or the manner in which it was
       determined or on any ground whatsoever.” The agreement made no promise
       regarding the length of the sentence and stated that the sentence was to be “imposed
       within the discretion of the sentencing judge.” The agreement provided that even if
       the district court imposed the maximum sentence established by statute, Gonzalez
       would not, for that reason alone, seek to withdraw his plea or pursue an appeal.

       The district court ascertained at the rearraignment that Gonzalez understood the
       charges, the potential penalty he faced, and the terms of the appeal waiver.
       Gonzalez’s sentence was within the applicable guideline range and was not in


                                                41
   Case 4:95-cr-00142 Document 5631 Filed on 05/17/06 in TXSD Page 42 of 59




       violation of law. United States v. Kirk, 111 F.3d 390, 393 (5th Cir. 1997). The
       record shows that Gonzalez knowingly and voluntarily waived the right to appeal his
       sentence. Robinson, 187 F.3d at 517. Accordingly, Gonzalez’s appeal of the
       sentencing is dismissed. Baymon, 312 f.3d at 729-30.

       Because Gonzalez did not challenge the factual basis for the plea in the district court,
       our review of his challenge to the factual basis is for plain error only. United States
       v. Vonn, 122 S.Ct. 1043, 1046 (2002). Plain error review requires Gonzalez to show
       that there is a clear and obvious error that affects his substantial rights. United States
       v. Marek, 238 F.3d 310, 315 (5th cir. 2001) (en banc).

       The presentence report (“PSR”) established Gonzalez’s involvement with over 1,000
       kilograms of marijuana, and Gonzalez has provided no evidence to rebut the
       information in the PSR. United States v. Vital, 68 f.3d 114, 120 (5th cir. 1995). At
       sentencing, Gonzalez conceded involvement with 5,000 pounds of marijuana.
       Gonzalez has not shown error, much less plain error, concerning the sufficiency of
       the factual basis. Marek, 238 F.3d at 315. Gonzalez’s convictions are affirmed.
       (Document No. 5129).

Because Gonzalez did not file a petition for writ of certiorari with the United States Supreme Court,

his conviction became final upon the expiration of the deadline to file such a petition, or July 1,

2003. On April 1, 2004, within one year of his conviction being final, Gonzalez timely filed a §

2255 Motion to Vacate, Set Aside, or Correct Sentence. (Document No.5299). Thereafter, on June

8, 2004, Gonzalez filed a Memorandum in Support. (Document No. 5363). In his § 2255 motion,

Gonzalez alleged:

       Ground One: Whether defense trial counsel’s erroneous advice and the government’s
       alleged promise of a sentence of 10 years imprisonment induced Gonzalez to
       unknowingly and involuntarily plead guilty.

       Ground Two: Whether defense trial counsel’s failure to properly argue sentencing
       issues deprived Gonzalez of effective assistance of counsel and a less harsh sentence?

       Ground Three: Whether Gonzalez was denied due process when the Court allegedly
       ordered the U.S. Attorney’s office to prepare the factual summaries to be used by the
       Probation Office in preparing the PSR? (Document No. 5299).

Gonzalez, in his Memorandum of Law, amplified his earlier issues as follows:


                                                  42
   Case 4:95-cr-00142 Document 5631 Filed on 05/17/06 in TXSD Page 43 of 59




       Whether trial counsel’s explanation of the consequences of the Plea Agreement,
       erroneously induced Gonzalez to plead guilty, therein depriving Gonzalez of
       effective assistance of counsel?

       Whether trial counsel was constitutionally ineffective for failing to challenge the
       sufficiency of the Indictment?

       Whether Gonzalez was denied due process when the Court ordered the U.S.
       Attorney’s Office to prepare the factual summaries to be used by the Probation Office
       in preparing the PSR?

       Whether sentencing counsel’s failure to: (a) raise the issue of the prosecutor’s
       promise; (b) raise the issue of improper preparation of the PSR; and (c) properly
       challenge the amount of marijuana attributed to Gonzalez; deprived Gonzalez of
       effective assistance of counsel at sentencing and a less harsh sentence. (Document
       No. 5363).

       In support of his claims, Gonzalez submitted his sworn affidavit, in which he states in

pertinent part:

       (1) Agreement to Plea[] of guilty: I was lured into pleading guilty by the AUSA
       Lombardino, in April of 1998, by her promise to my attorney Mr. Ramirez, that my
       sentence would be No more than 10 [years], and that the government would be
       somewhat more lenient on my wife Y[v]ette, if I plead guilty to drug and money
       quantities equating to 460 pounds of marijuana. Based on her promise, I agreed to
       plead guilty and waive my right to trial. In [January] and February of 2001, the
       Moreno’s (co-defendant’s) received their (PSI’s) which revealed the government and
       probation department’s intention [to] renege on their [agreements] to sentence them
       from 10-20 [years], and instead sentence them to life in prison. Learning of the
       breach of [agreement] with the Moreno’s, caused me to immediately ask Mr.
       Ramirez, to file a motion to withdraw my plea agreement based on the government’s
       bad faith and breach of the agreement with co-defendant’s. Mr. Ramirez, refused
       saying it would be futile because others had tried and failed and he did not want to
       upset the government. Mr. Ramirez, had no alternative plan to insure that my
       agreement with the government would not be subsequently be broken, to serve no
       more [than] 10 [years]. Mr. Ramirez, stood moot [sic] at sentencing while AUSA
       Lombardino breached our no more than 10 [years] sentence agreement and failed to
       object that the obstruction of justice enhancement was not in the [PSI] nor brought
       up by any federal authority up until the date of sentencing. This blindsided
       maneuverability to add obstruction of justice at sentencing broke the no more [than]
       10 [years] agreement, [] which I had with AUSA Lombardino, from April 1998.



                                                43
   Case 4:95-cr-00142 Document 5631 Filed on 05/17/06 in TXSD Page 44 of 59




       (2). Obstruction of Justice: Two points were added to my sentence for obstruction
       of justice, based on a spur of the moment conversation I had with Mr. Maurice
       Gordon’s wife on the telephone after he had been arrested by the State of Texas, and
       an alleged agreement between Mr. Gordon and myself, whereby, he would hinder,
       obstruct or impede any investigation headed my way.

       When Mr. Gordon was in [s]tate custody immediately after his arrest, I spoke with
       Mrs. Gordon, on the telephone saying essentially, (a) find out where he is and what
       is going on (b) tell him not to say anything (c) and tell him I was on it[.] Much later
       when Mr. Gordon’s state case became a federal case the instant case that he debriefed
       with the federal authorities and willingly answered every question to their satisfaction
       proving there was no agreement to obstruct between us Mr. Gordon, never went to
       trial in either state or federal court making AUSA Lombardino, statements to the
       Court misleading and totally [contradicted] by the record. Mr. Ramirez, was
       unprepared at sentencing for the obstruction enhancement, he did not ask the Court
       for extra time to prepare, investigate or call witnesses, did not object to the erroneous
       information submitted by AUSA Lombardino, about Mr. Gordon, going to trial
       because he never did, or about an agreement between us to obstruct justice which is
       obviously untrue since Mr. Gordon, satisfied the government with his answers to
       their questions.

       (3). Acceptance of Responsibility: The perception I have always had of my role in
       the organization was that of messenger or gofer or indian, but certainly not a chief.
       I lived like an indian, was paid like an indian, and in my honest opinion- acted like
       [an] indian. I was (sic) what a chief earned, where the they lived, how they lived and
       the control and authority they held. My perception is how I see things as they pertain
       to me and to say that I minimized my role is not true from my point of view. I
       plead[ed] guilty years before I was sentenced and I explained my role from my
       [perspective] and was never told by Mr. Ramirez, that I was not doing enough to
       receive the 3 points for acceptance of responsibility. I took credit for what was mine
       and spoke up when it was not. Mr. Ramirez, certainly had the time to inquire as to
       my acceptance of responsibility and to bring to my attention the probation[]
       department’[s] dissatisfaction with my acceptance. In the over 5 [years] I spent in jail
       before sentencing Mr. Ramirez, never found out if I had satisfied the requirements
       in place to insure his client would receive the acceptance of responsibility he
       deserved. I would always inquire when talking to him by phone as to the status of
       things and his constant reply was that we were still waiting on the (PSI), and that he
       was taking care of it. (Document No. 5363, Exhibit 1) (emphasis in original).


In addition, Gonzalez submitted an affidavit of his brother, Luis Jaime Gonzalez, which states in

pertinent part:


                                                  44
Case 4:95-cr-00142 Document 5631 Filed on 05/17/06 in TXSD Page 45 of 59




   My brother’s arrest came in November 1996 and was charged with several counts
   which included conspiracy and money laundering. His attorney George Allen
   Ramirez from Rio Grande City was hired the day after his arrest and he was
   immediately to represent my brother. It took nearly two years (1998), until a deadline
   was established by AUSA Lombardino for Rene to plea guilty or risk going to court
   and maybe face a stiffer sentence. Mr. Ramirez mentioned to me that part of the
   agreement was for Rene to accept his responsibility and to debrief as to his role in the
   case. Also, that by pleading guilty before the deadline he and his wife Yvette, would
   get a better deal. After this took place, Mr. Ramirez spoke to me and said that Rene
   was pleading guilty to approximately 460 [pounds] and that the money laundering
   charge would not affect him. He also stated that if everything goes o.k. that Rene
   was looking at a 10 year minimum sentence, but that he would qualify for points
   taken off the guidelines due to him having 1) accepted responsibility and debriefing,
   2) safety valve, for being a first time offender.

   After approximately two more years, I called Mr. Ramirez asking as to the status of
   my brother’s case. He mentioned that everything was still in process and that we
   were waiting for the PSI reports. I proceeded in explaining to him that my brother
   had been calling me worried that the prosecution might pull back from the deal they
   had originally made with him and that he was reconsidering pulling his plea. Mr.
   Ramirez explained to me that something like that would only hurt Rene and Yvette.
   That he believed that the government knows that Rene’s role was minimum and that
   there was no way Rene would get more than 10 years. Yet, he also stated that AUSA
   Lombardino was a person that could backstab you if you made things rough for her.
   Therefore it was best to leave thing that way. After speaking to my brother, he
   explained to me that he found out about other defendants getting their PSI’s and that
   in almost every case, the PSI’s were exaggerated as to the defendant[‘s] relevant
   conduct and that their sentencing would be affected due to the information [in] their
   PSI’s.

   As to some conversation with Mr. Ramirez relevant to PSI’s and such, Mr. Ramirez
   explained that PSI information that could work against my brother, was that which
   could be proven NOT hearsay. Yet, he was concerned because he also heard that
   most defendants that were being sentenced were getting stiffer sentences than that
   which their attorney’s had thought were the agreements. Even when Mr. Ramirez
   realized that stiffer sentences were being given, he never traveled to Houston, Texas
   to meet with my brother or to meet with AUSA Lombardino to check on the status
   of the case. In one instance he did mentioned to me that AUSA Lombardino was not
   satisfied with Rene’s debriefing, that Rene might be keeping back information from
   her. Yet Mr. Ramirez stated to me that Rene’s debriefing was only as to his
   responsibility in the case, not 5K1, which is full participation against others, which
   included testifying in court.



                                             45
   Case 4:95-cr-00142 Document 5631 Filed on 05/17/06 in TXSD Page 46 of 59




       After yet another year, Mr. Ramirez calls me to inform me that Rene’s PSI was in,
       and that it did not look good. He explained that the government had perceived him
       to be a manager, supervisor individual in the organization and that his money
       laundering had been exaggerated to be in the hundreds and thousands of dollars.
       Also that his relevant conduct as to quantity increased to approximately 8000
       [pounds] of marijuana, and that he had obstructed justice with his role with a
       gentleman by the name of Maurice Gordon. I proceeded in asking him what was the
       next step that it was obvious the PSI was not acceptable and that I felt Rene was not
       getting a fair deal. He told me that the procedure was that he would file some
       motions protesting the PSI statements. He also explained that he would have an
       opportunity to argue those motions at the time of sentencing. I told Mr. Ramirez that
       I felt that it was his duty to make a trip to Houston, Texas to explain all this to Rene
       and to make sure that everything was O.K. with him, because I felt that the PSI was
       over extended as to what my brother’s perception of the truth was.

       Finally, the day of sentencing came and my brother had his moment of speaking out
       for himself. I felt that Mr. Ramirez did nothing to help him at the time of sentencing
       and that if it would not of been for Rene’s questioning as to how the government
       could reach such conclusion as to his role in the case, he could of probably been
       given even a stiffer sentence than the one he received. I honestly believe that my
       brother’s role was no more than that of a messenger, or indian, not a supervisor, and
       that the monies laundered as stated are unproven. Why were there no fines? Also,
       the quantities of marijuana were unproven. There is no factual evidence of these
       quantities, only hearsay or exaggeration as to what the prosecution perceives to be
       the truth. I believe the prosecution rebelled against Rene and knew that Rene was a
       minor participant, but yet still went forward in punishing him because in their mind
       Rene failed to accept complete responsibility. (Document No. 5363, Exhibit 2).


       In response, the Government has filed an Amended Answer and Amended Motion for

Summary Judgment (Document Nos. 5429, 5430). According to the Government, Gonzalez’ claims

are refuted by the record, which clearly establishes that Gonzalez’ plea was knowing and voluntary,

that he was aware of the maximum penalties, and that he understood that any prediction of a sentence

by counsel was a prediction and not a promise. Gonzalez has filed a Response to the Government’s

Amended Motion for Summary Judgment. (Document No. 5413). Finally, Gonzalez has filed a

Notice of Judicial Cognizance (Document No. 5405), in which he suggests that his sentence is



                                                 46
   Case 4:95-cr-00142 Document 5631 Filed on 05/17/06 in TXSD Page 47 of 59




contrary to the holding of the United States Supreme Court in Blakely v. Washington, 542 U.S. 296,

524 S.Ct. 2531 (2004).5



       II. Motion to Amend to assert Blakely/Booker claim

       On September 13, 2004, Gonzalez filed a Notice of Judicial Cognizance (Document No.

5405), in which he suggests that he should be allowed to argue that his sentence enhancement was

unconstitutional in light of Blakely. Gonzalez’ Notice of Judicial Cognizance has been construed

as a Motion for Leave to Amend/Supplement his § 2255 motion.

       Federal Rule of Civil Procedure 15 governs amended and supplemental pleadings, and the

law is clear that Rule 15 applies to amendments of § 2255 motions. See United States v. Saenz, 282

F.3d 354. 356 (5th Cir. 2002) (“Every circuit that has addressed this issue agrees the [AEDPA’s] one

year statute of limitations does not render Rule 15 inapplicable to federal habeas proceedings.”).

“Under Fed.R.Civ.P. 15(c), a district court may in its discretion, permit an amendment which

clarifies or amplifies a claim or theory in a timely filed § 2255 petition after AEDPA’s one year

statute of limitations has expired.” United States v. Thomas, 221 F.3d 430, 433-434 (3rd Cir. 2000).

Conversely, an amendment under Rule 15(c) should not be allowed where the movant seeks to add

an entirely new claim or new theory of relief. Id. “An amended habeas petition does not relate back

(and thereby escape AEDPA’s one year time limit) when it asserts a new ground for relief supported

by facts that differ in both time and type from those the original pleading set forth.” Mayle v. Felix,

___U.S.___, 125 S.Ct. 2562 (2005). Because Blakely/Booker is a new theory of relief, supported


       5
         Because of the intervening decision by the United States Supreme Court in United States
v. Booker, 543 U.S. 220, 125 S.Ct. 738 (2005), which applied Blakely to the Federal guidelines, the
Court refers to both decisions as Blakely/Booker.

                                                  47
   Case 4:95-cr-00142 Document 5631 Filed on 05/17/06 in TXSD Page 48 of 59




by facts that differ in type and time from his original § 2255 motion, Gonzalez is not entitled to

amend his § 2255 motion under Rule 15.

       Moreover, even assuming that Gonzalez’ claim under Blakely/Booker related back to his

§ 2255 motion, Gonzalez should not be allowed to amend his original § 2255 motion because

Blakely/Booker does not apply retroactively to cases on collateral review. As a result, the proposed

amendment would be futile.

       Gonzalez argues that the district court’s sentencing determination is contrary to the Supreme

Court’s decisions in Blakely v. Washington, 542 U.S. 296, 524 S. Ct. 2531 (2004) and United States

v. Booker, 543 U.S.220, 125 S.Ct. 738 (2005) because the Court, and not a jury, enhanced his

sentence. In Blakely, the Supreme Court invalidated the State of Washington’s sentencing scheme,

whereby a judge could possibly sentence a defendant to a punishment beyond a statutory range on

the basis of judicially determined facts. Id. at 2538. In doing so, the Supreme Court applied the rule

in Apprendi v. New Jersey, 530 U.S. 466, 490 (2000), which requires that, “[o]ther than the fact of

a prior conviction, any fact that increases the penalty for a crime beyond the prescribed statutory

maximum must be submitted to a jury, and proved beyond a reasonable doubt.” The Supreme Court

in Blakely expressly declined to state whether its decision applied to the Federal Sentencing

Guidelines. Id.

       The Supreme Court, in its intervening decision, United States v. Booker, 543 U.S. 220, 125

S.Ct. 738 (2005), extended its holding in Blakely to the Federal Sentencing Guidelines, and

concluded that there was “no distinction of constitutional significance between the Federal

Sentencing Guidelines” and the state sentencing scheme at issue in Blakely and, in keeping with its

earlier decision in Apprendi, stated: “Any fact (other than a prior conviction) which is necessary to


                                                 48
   Case 4:95-cr-00142 Document 5631 Filed on 05/17/06 in TXSD Page 49 of 59




support a sentence exceeding the maximum authorized by the facts established by a plea of guilty

or a jury verdict must be admitted by the defendant or proved to a jury beyond a reasonable doubt.”

Id., 125 S.Ct. at 756. To remedy the guidelines’ Sixth Amendment problem, the Supreme Court

severed and excised 18 U.S.C. § 3553(b)(1), which required mandatory application of the guidelines.

Id. at 756-57, 765. As a consequence, the guidelines are now advisory in all cases. Id. at 757.

Because Blakely and Booker were decided after Gonzalez’ conviction in the instant case became

final, it must be determined as an initial matter whether Blakely/Booker should be retrospectively

applied. The Supreme Court has not stated whether the rule announced in Blakely and Booker apples

retroactively to cases on collateral review. However, the Fifth Circuit addressed this issue as to

initial § 2255 motions, and has concluded that Booker does not apply retroactively to an initial §

2255 motion. United States v. Gentry, 432 F.3d 600 (5th Cir. 2005). Because Booker does not apply

retroactively in initial § 2255 proceedings, Gonzalez is not entitled to relief under Blakely/Booker,

and his Notice of Judicial Cognizance (Document No. 5405) should be DENIED as untimely and

futile.



III. Guilty Plea Claims

          Claims of ineffective assistance of counsel are generally measured by the standard of

Strickland v. Washington, 466 U.S. 668 (1984). Under Strickland, a petitioner must be able to show

that his counsel was deficient and that the deficiency prejudiced him to the extent that a fair trial

could not be had. Strickland, 466 U.S. at 687. Deficiency is judged by an objective reasonableness

standard, with great deference given to counsel and a presumption that the disputed conduct is

reasonable. Id. at 687-88. The prejudice element requires a petitioner to prove that absent the


                                                 49
   Case 4:95-cr-00142 Document 5631 Filed on 05/17/06 in TXSD Page 50 of 59




disputed conduct of counsel, the outcome would have been both different and more favorable. Id.

at 694-95. Under Strickland, a petitioner must establish both deficiency and prejudice prongs to be

entitled to habeas relief. The failure to establish either deficient performance or prejudice makes it

unnecessary to examine the other prong. United States v. Seyfert, 67 F.3d 544, 547 (5th Cir. 1995).

       Under the deficiency prong of Strickland, judicial scrutiny of counsel’s performance is

“highly deferential” and “a strong presumption” is made that “trial counsel rendered adequate

assistance and that the challenged conduct was the product of reasoned trial strategy.” Wilkerson

v. Collins, 950 F.2d 1054, 1064-65 (5th Cir. 1992), cert. denied, 509 U.S. 921 (1993) (citing

Strickland). To overcome the presumption of competence, the petitioner “must identify the acts or

omissions of counsel that are alleged not to have been the result of reasonable professional

judgment.” Strickland, 466 U.S. at 690. Under the prejudice prong of Strickland, a petitioner must

be able to establish that absent his counsel’s deficient performance, the result of his trial could have

been different. “An error by counsel, even if professionally unreasonable, does not warrant setting

aside the judgment of a criminal proceeding if the error had no effect on the judgment.” Id. at 691.

        Constitutionally effective assistance of counsel under Strickland is not errorless counsel. The

determination of whether counsel has rendered reasonably effective assistance turns on the totality

of facts in the entire record. Each case is judged in light of the number, nature, and seriousness of

the charges against a defendant, the strength of the case against him, and the strength and complexity

of his possible defense. Baldwin v. Maggio, 704 F.2d 1325, 1329 (5th Cir. 1983), cert. denied, 467

U.S. 1220 (1984). The reasonableness of the challenged conduct is determined by viewing the

circumstances at the time of that conduct. Strickland, 466 U.S. at 690. “We will not find inadequate

representation merely because, with the benefit of hindsight, we disagree with counsel’s strategic


                                                  50
   Case 4:95-cr-00142 Document 5631 Filed on 05/17/06 in TXSD Page 51 of 59




choices.” Kitchens v. Johnson, 190 F.3d 698, 701 (5th Cir. 1999) (quoting Green v. Johnson, 116

F.3d 1115, 1122 (5th Cir. 1997)). The court’s role “under § 2255 is not to audit decisions that are

within the bounds of professional prudence.” United States v. Molina-Uribe, 429 F.3d. 514, 518

(5th Cir. 2005), cert. denied, (2006). In addition, conclusory allegations of ineffective assistance of

counsel do not raise a constitutional question in a federal habeas petition. Miller v. Johnson, 200

F.3d 274, 281 (5th Cir. 2000), cert. denied, 531 U.S. 849 (2000) (citing Barnard v. Collins, 958 F.2d

634, 642 (5th Cir. 1992); Ross v. Estelle, 694 F.2d 1008, 1012 (5th Cir. 1983)).

       With respect to guilty pleas, the prejudice requirement “focuses on whether counsel’s

constitutionally ineffective performance affected the outcome of the plea process.” Hill v. Lockhart,

474 U.S. 52, 59 (1985). Thus, Gonzalez “must show that there is a reasonable probability that, but

for counsel’s errors, he would not have pleaded guilty and would have insisted on going to trial.”

Id. As to the specific examples of ineffective assistance of counsel which Gonzalez cites to in

support of his ineffectiveness claims relating to his decision to plead guilty, such as that he was

misled about the length of his sentence, and those claims relating to sentencing, such as counsel’s

failing to argue that the Government had promised a ten year sentence, failing to challenge the drug

quantity he was held accountable for, failing to argue for acceptance of responsibility, and failing

to challenge the sufficiency of Indictment, the record either affirmatively shows that Gonzalez’

counsel was not deficient or there is no evidence that the alleged errors prejudiced Gonzalez within

the meaning of Strickland.

       Gonzalez claims that the guilty plea was not knowing because it was based on counsel’s

misrepresentations about a sentence of ten years. According to Gonzalez, his counsel failed to take

into account the effects of relevant conduct in calculating his guideline sentence. Gonzalez contends


                                                  51
   Case 4:95-cr-00142 Document 5631 Filed on 05/17/06 in TXSD Page 52 of 59




that he would not have pleaded guilty had he known that the conduct of dismissed counts and that

of co-conspirators would be considered for sentencing purposes. Gonzalez further contends that

counsel failed to advise of possible increases to his base offense level for his role in the offense and

for obstruction of justice. He further argues he pleaded guilty based on counsel’s assurance that he

would receive a three level reduction for acceptance of responsibility. Gonzalez contends that

because his counsel failed to explain the guidelines, he entered his plea “blindly with no appreciation

of the consequences.” Gonzalez contends that because he was unschooled in the law, and had no

prior contact with the criminal justice system, he relied on his attorney’s assurances regarding a ten

year sentence and that the Government would be more lenient on his wife, and has been prejudiced

by a seventeen year sentence.

       “Solemn declarations in open court carry a presumption of verity, forming a formidable

barrier in any subsequent collateral proceeding.” United States v. Cervantes, 132 F.3d 1106, 1110

(5th Cir. 1998) (quoting Blackledge v. Allison, 431 U.S. 63, 73-74 (1977)). However, a defendant

such as Gonzalez may obtain habeas relief on the basis of misrepresentations as to what a sentence

will be, notwithstanding statements made in open court, by showing the exact terms of the alleged

promise, when, where and by whom the promise was made, and the precise identify of an eyewitness

to the promise. Cervantes, 132 F.3d at 1110 (citing Harmason v. Smith, 888 F.2d 1527, 1529 (5th

Cir. 1989)). Consequently, absent independent evidence that disputes Gonzalez’ own testimony

which he gave during his Rearraignment, his ineffective assistance of counsel claims based on

counsel’s erroneous estimate of his sentencing exposure fails. Here, because Gonzalez has failed




                                                  52
   Case 4:95-cr-00142 Document 5631 Filed on 05/17/06 in TXSD Page 53 of 59




to come forward with credible, independent evidence, which would dispute his sworn statements at

his Rearraignment hearing, his claims fail.6

       Moreover, regardless of whether Gonzalez’ attorney knew of, or discussed with him, his

relevant conduct and the application and effect of relevant conduct in calculating his sentence, and

possible increases to his base offense level for his role in the offense and for obstruction of justice,

given Gonzalez’ sworn statements at his Rearraignment hearing, which are entitled to the

presumption of truthfulness, Gonzalez has not shown that he was unaware that he could be sentenced

to more than ten years. For example, at Gonzalez’ Rearraignment Hearing, he acknowledged, under

oath, that he could receive up to a life sentence for count one (conspiracy to possess with intent to

distribute 1000 kilograms or more of marijuana), and up to twenty years for count five (money

laundering). In addition, Gonzalez’ stated that no representations or promises had been made as to

his sentence, that only the Court would determine his sentence he would receive after receiving and

reviewing the PSR and objections made by Gonzalez to the PSR, and that he could not withdraw his

plea if his sentence was more severe than he expected. Gonzalez repeatedly acknowledged that he


       6
          Gonzalez attached to his Memorandum of Law in Support of § 2255 motion, the affidavits
of himself and of his brother. With respect to Gonzalez’ request for an evidentiary hearing, to be
entitled to an evidentiary hearing, Gonzalez must show “(1) the exact terms of the alleged promise,
(2) exactly when, where, and by whom the promise was made, and (3) the precise identity of an
eyewitness to the promise.” United States v. Cervantes, 132 F3d 1106, 1110 (5th Cir. 1998) (citing
to Harmason v. Smith, 888 F.2d 1527, 1529 (5th Cir. 1989)). As such, “if the defendant produces
independent indicia of the likely merit of [his] allegations, typically in the form of one or more
affidavits from reliable third parties, [he] is entitled to an evidentiary hearing on the issue. If,
however, the defendant’s showing is inconsistent with the bulk of [his] conduct or otherwise fails
to meet [his] burden of proof in light of other evidence in the record, an evidentiary hearing is
unnecessary.” Cervantes, 132 F.3d at 1110. (Citations omitted). Here, because Gonzalez’ brother
was not present when the alleged promises or representations concerning Gonzalez’ sentence were
made and the discussions concerning leniency for Gonzalez’ wife, Gonzalez is not entitled to an
evidentiary hearing, as his brother’s affidavit does not satisfy the requirements of specificity
necessary to warrant an evidentiary hearing.

                                                  53
   Case 4:95-cr-00142 Document 5631 Filed on 05/17/06 in TXSD Page 54 of 59




understood that no one could tell him with specificity the length of sentence which would be

imposed by the Court and that his sentence would be determined by the Judge only. In particular,

Judge Harmon, in discussing the sentencing process at his Rearraignment hearing advised: “this is

the first time all of us will find out what your sentence is going to be in this case.” (Document No.

4974, p. 20) (emphasis added).

        Similarly, the written Plea Agreement stated he could receive a sentence of up to life

imprisonment for count one, and twenty years for count five, that his sentence would be imposed in

accord with the Sentencing Guidelines, that the Court could impose any sentence within the statutory

maximum, that the sentence to be imposed was within the discretion of the court, and that imposition

of the maximum sentence would not be grounds to withdraw his plea. Indeed, the written Plea

Agreement states: “[t]he United States has not and does not make any promises or representations

as to what sentence the Court will impose.” (Document No. 2766, ¶6). As such, even if Gonzalez’

counsel had erroneously represented that he would receive a sentence of ten years by entering into

the plea agreement, Gonzalez, nonetheless, was aware when he entered the Plea Agreement and at

the time of his Rearraignment hearing, that his sentencing exposure was a mandatory minimum

sentence of 10 years or 120 months, and could be life imprisonment for count one, and up to twenty

years on count five. Likewise, the record refutes Gonzalez’ contention that the Government, as part

of the plea agreement, agreed to a set sentence and to be lenient towards Gonzalez’ wife should

Gonzalez plead guilty to counts one and five. Contrary to Gonzalez’ allegations, neither the written

Plea Agreement nor the transcript of the Rearraignment Hearing refer to a ten year sentence or the

promise of leniency towards Gonzalez’ wife. Instead, the record shows that Gonzalez testified he

agreed with the Government’s summary of the terms of the plea, that he had gone over the agreement


                                                 54
   Case 4:95-cr-00142 Document 5631 Filed on 05/17/06 in TXSD Page 55 of 59




with his counsel and understood the terms thereof, had no questions relating to the agreement, and

that there were “no side agreement or under the table agreement or agreement of any kind” that he

was relying on as part of his plea agreement. (Transcript of Rearraignment Hearing, Document No.

4974, p. 13).

       Given the exchange between Gonzalez and the Court at his May 29, 1998, Rearraignment

Hearing, which leaves no doubt that Gonzalez knew he faced up to a life sentence on count one and

twenty years on count two, and the explanation of the sentencing process, and in particular, that his

sentence would not be known until the sentencing hearing, simply because his counsel anticipated

a substantially shorter sentence, Gonzalez has not shown prejudice within the meaning of Strickland.

Gonzalez has failed to demonstrate that his guilty plea was not knowing, voluntary, and intelligent,

and has likewise failed to overcome the presumption under Strickland that “counsel’s conduct falls

within the wide range of reasonable professional assistance; that is, the defendant must overcome

the presumption that, under the circumstances, the challenged action might be considered sound trial

strategy.” Strickland, 466 U.S. at 689. (quotations omitted). Even if counsel had predicted a much

lesser sentence, Gonzalez’ reliance on that sentencing estimate would have been unreasonable given

the numerous warnings he received at his Rearraignment that the maximum sentence for the drug

conspiracy to which he was pleading guilty to was life, and and up to twenty years for money

laundering. By pleading guilty, Gonzalez had the potential for a less harsh sentence given that there

was a chance for a reduction for acceptance of responsibility. In contrast, had Gonzalez gone to trial,

it is highly likely that the jury would have found him guilty, based on the evidence, and there would

have been no chance of a reduction for acceptance of responsibility.




                                                  55
   Case 4:95-cr-00142 Document 5631 Filed on 05/17/06 in TXSD Page 56 of 59




         As for Gonzalez’ effective assistance of counsel claims relating to sentencing, such as

counsel’s failure to argue that there was a breach of the plea because the government had agreed to

a ten year sentence, failing to the object to the PSR’s calculation of drug quantity, and to further

challenge the sufficiency of the factual basis to support Gonzalez’ plea given that Gonzalez admitted

to being responsible for 480 pounds of marijuana, and for failing to argue for a reduction for

acceptance of responsibility, the record refutes Gonzalez’ contention. The record shows that counsel

filed written objections to the PSR, in which he objected to the drug quantities, the absence of a

reduction for acceptance of responsibility, and increases to the base offense level based on Gonzalez’

role in the offense and obstruction of justice. (Document No.4648). In addition, counsel urged the

Court to sentence Gonzalez to a ten year sentence. (Transcript of Sentencing Hearing, Document

No. 4817, pp. 12-13, 18-19, 21-30). Because counsel’s performance was not deficient and there was

no resulting prejudice within the meaning of Strickland, no relief is available on this ineffectiveness

claim.



V. Due Process Claim

         Finally, Gonzalez contends he was denied due process when the Court ordered the United

States Attorney’s Office to prepare factual summaries to be used by the probation officer in

preparing the PSR. According to Gonzalez, by allowing the Government to prepare factual

summaries, the probation office failed to conduct its own independent, and thorough investigation,

and that by relying on the Government’s factual summaries, the probation officer no longer acted

as a neutral information gatherer. Gonzalez contends that “the probation officer purposefully and

intentionally dragged her feet and waited and waited and waited until such time as all other co-


                                                  56
   Case 4:95-cr-00142 Document 5631 Filed on 05/17/06 in TXSD Page 57 of 59




defendants pled guilty and fabricated their respective stories on debriefing to curry favor with the

Government.” (Document No. 5413, p. 11). Gonzalez also argues that counsel was ineffective for

failing to object to this process.     Probation Officers are appointed by the court in the district in

which they serve and “are under the direction of the court making the appointment.” 18 U.S.C. §

3602. With respect to the PSR:

        The purpose of the [PSR], prepared by a probation officer is to aid the court in
        fashioning a fair and just sentence within the limits of its authority granted by
        Congress and the Sentencing Guidelines. See 18 U.S. C. § 3552; United States v.
        Charner Indus., Inc, 711 F.2d 1164 (2nd Cir. 1983). The [PSR] is designed to
        present as complete a picture about the defendant as possible, with information about
        his or her family, education, finances, health, prior criminal conduct, as well as the
        facts and circumstances surrounding the pending charges before the court.
        It is well established that

United States v. Loeper, 132 F.Supp.2nd 337, 339 (E.D.Pa. 2001). In addition, Rule 32 of the

Federal Rules of Criminal Procedure allows for a defendant, such as Gonzalez to object to factual

findings and application of the findings to the guidelines. See FED.R.CRIM.P 32(F)(1) (allowing

the parties to “state in writing any objections, including objections to material information,

sentencing information, sentencing guideline ranges, and policy statements contained in or omitted

from the report:); 32(i)(1)(C) (requiring the sentencing court to “allow the parties’ attorneys to

comment on the probation officer’s determinations and other matters relating to an appropriate

sentence’).

        Here, the probation officer relied not only on the summaries provided by the Government,

but also relied on Title III intercepts, information from case agents, and cooperating witnesses. Both

the Government and Gonzalez were given the opportunity to object to the PSR, which they did.

Moreover, at Gonzalez’ Rearraignment Hearing, Judge Harmon explained the role of the probation



                                                 57
   Case 4:95-cr-00142 Document 5631 Filed on 05/17/06 in TXSD Page 58 of 59




officer, and further explained that sentencing would not be immediate. Upon this record, where there

has been no showing that probation officer was not neutral, Gonzalez’ due process and

ineffectiveness claims fail. See Miller v. Johnson, 200 F.3d 274, 284 (5th Cir. 2000) (conclusory

allegations are insufficient to raise cognizable claims of ineffective assistance of counsel).



VI. Conclusion and Recommendation

       Based on the foregoing, it is

       RECOMMENDED, that Movant’s § 2255 Motion to Vacate, Set Aside or Correct Sentence

(Document No. 5299), and Notice of Judicial Cognizance (Document No. 5405) all be DENIED, and

that the Government’s Amended Motion for Summary Judgment (Document No. 5430) be

GRANTED, and that this § 2255 proceeding be DISMISSED.

       The Clerk shall file this instrument and provide a copy to all counsel and unrepresented

parties of record. Within 10 days after being served with a copy, any party may file written

objections pursuant to 28 U.S.C. § 636(b)(1)(C), Fed.R.Civ.P. 72(b), and General Order 80-5, S.D.

Texas. Failure to file objections within such period shall bar an aggrieved party from attacking

factual findings on appeal. Thomas v. Arn, 474 U.S. 140 (1985); Ware v. King, 694 F.2d 89 (5th Cir.

1982), cert. denied, 461 U.S. 930 (1983); Nettles v. Wainwright, 677 F.2d 404 (5th Cir. 1982) (en

banc). Moreover, absent plain error, failure to file objections within the ten day period bars an

aggrieved party from attacking conclusions of law on appeal. Douglass v. United Services

Automobile Association, 79 F.3d 1415, 1429 (5th Cir. 1996). The original of any written objections

shall be filed with the United States District Clerk, P.O. Box 61010, Houston, Texas 77208.




                                                 58
   Case 4:95-cr-00142 Document 5631 Filed on 05/17/06 in TXSD Page 59 of 59




Signed at Houston, Texas, this 16th day of May, 2006.




                                             59
